      Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 1 of 79




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15                                UNITED STATES DISTRICT COURT

16                              NORTHERN DISTRICT OF CALIFORNIA

17
      IN RE: ROUNDUP PRODUCTS                      MDL No. 2741
18    LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC
19

20                                                Hearing Date: December 11, 2017
                                                  Time: 9:00 a.m.
21    This document relates to:

22    ALL ACTIONS

23

24
       PLAINTIFFS’ (1) RESPONSE IN OPPOSITION TO MONSANTO COMPANY’S
25      DAUBERT AND SUMMARY JUDGMENT MOTION BASED ON FAILURE OF
     GENERAL CAUSATION PROOF AND (2) DAUBERT MOTION TO STRIKE CERTAIN
26          OPINIONS OF MONSANTO COMPANY’S EXPERT WITNESSES

27

28
                  Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 2 of 79




 1   Table of Contents
 2
     Issues to Be Decided ....................................................................................................................... 1
 3
     I.           Introduction ...................................................................................................................... 1
 4
     II.          Legal Standards ................................................................................................................ 7
 5
 6   III.         Relevant Regulatory History ............................................................................................ 9

 7          A. Recent Glyphosate Assessments ...................................................................................... 9

 8          B. The “Science” Underlying the Registration of Glyphosate ............................................ 11
 9   IV.     The Bradford-Hill Criteria is the Most Widely Accepted Method for Assessing
10   Causation....................................................................................................................................... 16

11   V.     Plaintiffs’ Experts’ Opinions Regarding the Epidemiological Association between
     GBFs and NHL Are Admissible; Epidemiological Data Supports General Causation ................ 19
12
            C. The Court’s Role in Considering Epidemiological Data under Daubert ....................... 20
13
14                1.     Types of Epidemiological Data ............................................................................... 20

15                2.     Interpreting Epidemiological Estimates .................................................................. 21

16          D. The Epidemiological Data, when Viewed in its Entirety, Strongly Supports a Causal
               Association between GBFs and NHL............................................................................. 22
17
18                1.     Numerous Well-Controlled, Peer-Reviewed, and Independent Studies Support the
                         Causal Association between GBF Exposure and NHL ........................................... 24
19
                  2.     Peer-Reviewed Meta-Analysis of Epidemiological Data Support Causality .......... 28
20
            E. Monsanto’s Focus on the AHS Study, to the Exclusion of Others, Is Misplaced .......... 29
21
22                1. There Is Broad Consensus that the AHS Is Not Reliable or Informative. .................. 30

23                2. De Roos (2005) is not the most reliable study on Glyphosate and NHL .................. 32

24                3.     Monsanto’s Reliance on an Unpublished AHS Draft Manuscript to Overcome
                         Problems with the Original AHS Study Is Unavailing. .......................................... 34
25
26          F. Case-Controlled Studies Were Properly Considered by Plaintiffs’ Experts: the Data
               Shows Risk ..................................................................................................................... 38
27
                  1.     The Methodologically Sound Approach for Using Statistics To Understand
28                       Epidemiological Point Estimates ............................................................................ 38

                                                                              i
                  Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 3 of 79




                  2. Monsanto’s Concerns Regarding Confounding Are Not Supported by the Data, Are
 1
                      Methodologically Unsound, and Are Precluded by Estoppel ................................. 39
 2
                  3. Plaintiffs’ Experts Considered Bias............................................................................ 40
 3
     VI.    Monsanto’s Attempt to Inject Issues Related to Dose and Absorption Is Based on a
 4   Misunderstanding and Misrepresentation of the Data .................................................................. 42
 5
     VII.         The Toxicology Data is Reliable and Relevant. ............................................................. 45
 6
            A. Highly Qualified Experts Reviewed the Animal Data ................................................... 46
 7
            B. The Animal Bioassays Demonstrate that it is Biologically Plausible that Roundup
 8             Causes Cancer in Humans .............................................................................................. 48
 9
            C. Dr. Portier’s Methodology Materially Advances Relevant Science and Is Admissible. 51
10
            D. Dr. Jameson Applies the Correct Scientific Assessment to the Whole of the Evidence . 56
11
     VIII.        Opinions Based on Mechanistic Data Are Reliable and Satisfy the Fit Requirement ... 58
12
     IX.          SUMMARY JUDGMENT IS INAPPROPRIATE AND MUST BE DENIED ............ 61
13
14   X.      Monsanto’s Experts Do Not Apply Reliable Methodologies in Reaching Their
     Opinions. ....................................................................................................................................... 61
15
            A. The opinions of Dr. Rosol must be excluded because they are based upon documents
16             withheld from Plaintiffs. ................................................................................................. 62
17
            B. Dr. Goodman’s Opinions Discounting Two Human In Vivo Studies Are Inadmissible
18                 62

19          C. Dr. Goodman’s Opinions Are Based Upon A Result Driven Methodology .................. 65
20          D. Dr. Foster Applies Inconsistent and Erroneous Methodologies and Must be Excluded in
21             Total ................................................................................................................................ 67

22          E. Drs. Rider and Mucci’s Opinions Predicated Upon the Unpublished AHS Study Must
               be Excluded .................................................................................................................... 70
23
     CONCLUSION ON OFFENSIVE DAUBERTS ......................................................................... 70
24
25
26
27
28

                                                                              ii
                 Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 4 of 79




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 2
     Cases
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 4      Sept. 18, 2006) .......................................................................................................................... 37
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 6      Cal. 2007) ........................................................................................................................... passim
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        La. Jan. 7, 2014)........................................................................................................................ 42
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                                                                               iii
                 Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 5 of 79




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                                                                            iv
                 Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 6 of 79




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 1
        401 (2014) ................................................................................................................................. 54
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                                                                            v
                  Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 7 of 79




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 2
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 4
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20
21
22
23
24
25
26
27
28

                                                                             vi
                  Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 8 of 79




 1
     Issues to Be Decided
 2
          I.        Whether Plaintiffs’ experts employed reliable methodology in reaching their
 3                  conclusions.
 4        II.       Whether Plaintiffs’ expert opinions, considered together, create a triable issue of fact
 5                  for the jury.

 6        III.      Whether Monsanto’s experts Drs. Rosol, Goodman, Foster, Rider, and Mucci employ
                    reliable methodology in reaching the challenged conclusions.
 7
 8   I.        Introduction

 9
                 There is only one question before this Court: Is there admissible evidence, when viewed
10
     in light most favorable to Plaintiffs, that Roundup causes non-Hodgkin lymphoma (“NHL”)?
11
     There is overwhelming evidence—whether it be the epidemiology, toxicology, or mechanistic
12
     data—that exposure to glyphosate-based formulations (“GBFs”) causes NHL. At this point,
13
     general causation is a jury issue.
14
                 Monsanto’s motion illustrates this point. Instead of explaining how Plaintiffs’ experts’
15
     opinions are inadmissible, Monsanto focuses on why the opinions are wrong. But, that is not the
16
     standard under Daubert or at summary judgment. Whether Plaintiffs’ experts are “wrong” is
17
     something Monsanto must argue to the trier of fact. At this stage, there is no dispute that their
18
     opinions are based on sound, reliable science and that all of Monsanto’s attacks go to weight and
19
     credibility, not admissibility.
20
                 Monsanto’s motion makes three broad challenges. First, Monsanto tries to side-step
21
     numerous epidemiologic studies—including multiple meta-analyses (one of which was
22
     sponsored and published by Monsanto)—which show a consistent, statistically significant,
23
     elevated association between GBF exposure and NHL. Monsanto attempts this feat by asking the
24
     Court to ignore all the data and focus, exclusively, on a single study that has been roundly
25
     criticized for design flaws and rampant data lapses. This is nothing more than cherry-picking
26
     data to support Monsanto’s defense. It does not comport with the basic principles of science.
27
                 Second, Monsanto argues that toxicology is not methodologically relevant here because
28

                                                          1
              Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 9 of 79




 1   of the existence of epidemiological studies. As Plaintiffs’ experts’ reports and testimony make
 2   clear, animal bioassays are predictive of cancer in humans and are therefore probative of one
 3   element of the Bradford Hill Criteria; biological plausibility. The animal bioassays corroborate
 4   the epidemiological and mechanistic data, providing further support that the effects seen in
 5   exposed humans are caused by Roundup.
 6          Third, Monsanto attempts to discount the results of mechanistic studies which include
 7   reliable mechanistic human studies demonstrating genotoxic effects following real world
 8   exposure to GBFs. Its argument relies on superficial criticism and an inaccurate assessment of
 9   the studies. The results of the human studies validate the other mechanistic data and substantiate
10   the relevance to living human beings.
11          The evidence, viewed in its entirety, weighs heavily in favor of causation. Monsanto
12   attempts to avoid this fact by asking the Court to atomize the science surrounding GBFs and
13   ignore the overwhelming weight of the evidence. This approach is neither good science, nor do
14   Daubert and its progeny support such a process—they require the opposite. See U.S. v. W.R.
15   Grace, 504 F.3d 745, 765 (9th Cir. 2007) (emphasis original) (“[T]he expert's opinion testimony
16   must satisfy the requirements of Rule 702—but that requires consideration of the overall
17   sufficiency of the underlying facts and data, and the reliability of the methods, as well as the fit
18   of the methods to the facts of the case.”).
19          For these reasons, there is no basis to exclude Plaintiffs’ general causation experts’
20   opinions. Their opinions are admissible in full and granting summary judgment in Monsanto’s
21   favor is unwarranted.
22          Expert Qualifications1
23
24   1
       Plaintiffs’ counsel did not represent that their experts were limited to only one specialty, and
     Monsanto’s statement to the contrary lacks candor and necessitates context. In fact, Plaintiffs’
25
     counsel stated the opposite. See Monsanto’s Ex. 1. The parties had only 25 work days to take 13
26   expert depositions. Monsanto initially took the position that all of Plaintiffs’ expert had to be
     deposed before Plaintiffs could begin taking Monsanto’s experts’ depositions. When it became
27   clear that this arrangement would be impossible to achieve given the short window to take
28   depositions and Plaintiffs’ experts’ schedules and limited availability, the parties met and
     conferred to find a solution. As part of that solution, the parties agreed that they would phase

                                                       2
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 10 of 79




 1          Dr. Beate Ritz M.D., Ph.D. Dr. Ritz is the Chair of the Epidemiology Department at
 2   UCLA, which is one of only a few positions specifically assigned to the Center of Occupational
 3   and Environmental Health (COEH) mandated by the State of California to conduct research,
 4   teaching, and service to communities in California on occupational and environmental health
 5   issues. Dr. Ritz has doctoral degrees in Medicine and Epidemiology. She also is the author of
 6   numerous publications in toxicology and lectures and gives presentations in the field of
 7   toxicology as well. Dr. Ritz engaged in a systematic review of the literature in this case, utilized
 8   the Bradford Hill Criteria, and concluded that “to a reasonable degree of scientific certainty,
 9   glyphosate causes NHL. Furthermore, to a reasonable degree of scientific certainty, glyphosate
10   based formulations, including Roundup, cause NHL.” Ex. 3 – Expert Report of Dr. Beate Ritz at
11   25.
12          Alfred I. Neugut, M.D., Ph.D. Dr. Neugut is a practicing medical oncologist, a Professor
13   of Cancer Research and Professor of Medicine and Epidemiology at Columbia University, and
14   Associate Director for Population Sciences for the Herbert Irving Comprehensive Cancer Center.
15   Dr. Neugut was awarded with the Myron M. Studner Professorship in Cancer Research in the
16   Department of Medicine. He is also the Director of Junior Faculty Development for the
17   Department of Epidemiology, overseeing about 30 assistant professors. Dr. Neugut has published
18   over 500 articles in medical journals dealing primarily with carcinogenesis of various agents and
19   compounds. Dr. Neugut engaged in a systematic review of the literature in this case, used the
20   Bradford Hill criteria, and concluded that “epidemiologic and scientific evidence currently
21   available leads to the conclusion to a reasonable degree of scientific certainty for most expert,
22   objective, and reasonable viewers, myself included, that the use of glyphosate in its various
23   combinations can cause non-Hogkin lymphoma.” Ex. 4 – Expert Report of Dr. Alfred Neugut at
24
25   expert depositions by discipline. Because Plaintiffs’ experts opine about several disciplines,
     Plaintiffs agreed to provide Monsanto with each expert’s principal area of specialty, which is set
26   forth in Monsanto’s Ex. 1. Thereafter, Monsanto’s counsel sent two emails to Plaintiffs’ counsel,
     the first asking Plaintiffs to withdraw opinions that did not match the specialties set forth in
27   Monsanto Ex. 1, Ex. 1, and the second acknowledging that Plaintiffs declined to do so, Ex. 2. At
28   no time did Plaintiffs state that their experts are limited to one area of expertise.


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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 11 of 79




 1   23.
 2          Christopher J. Portier. Dr. Portier received his PhD in Biostatistics (with a minor in
 3   Epidemiology) from the University of North Carolina, Chapel Hill, in 1981. For over 32 years,
 4   Dr. Portier held prominent leadership positions with the federal government that combined the
 5   disciplines of toxicology, statistics, and epidemiology, including: Associate Director of the
 6   National Institute of Environmental Health Sciences (NIEHS) National Toxicology Program and
 7   thus the nation’s chief toxicologist, among other roles at NIEHS; Director of the National Center
 8   for Environmental Health, Center for Disease and Prevention; and the Director of the Agency for
 9   Toxic Substances and Disease Registry (ATSDR). Dr. Portier is a member of the Society of
10   Toxicology and the American Public Health Association. Dr. Portier has also received many
11   awards for his government and non-government work including the Best Paper Award from the
12   Society of Toxicology, Merit Award from the National Institutes of Health, several “Paper of the
13   Year” awards from the Society of Toxicology, the Outstanding Risk Practitioner Award of the
14   Society for Risk Analysis, and was an elected fellow of the International Statistical Institute. He
15   has published 164 peer-reviewed articles, 35 journal reviews, 33 book chapters, and 46 reports
16   and government agency publications, and he has participated in six IARC working groups, either
17   as Chair or a working group member. His experience encompasses the design, performance, and
18   analyses of studies, including animal bioassays (as well as the supervision thereof), that evaluate
19   the carcinogenic effects of chemicals and pesticides on humans. Dr. Portier engaged in a
20   systematic review of the literature in this case, utilized the Bradford Hill criteria, and concluded
21   that “[i]n my opinion, glyphosate probably causes NHL and, given the human, animal and
22   experimental evidence, I assert that, to a reasonable degree of scientific certainty, the probability
23   that glyphosate causes NHL is high.” Ex. 5 – Expert Report of Dr. Christopher Portier at 80.
24          Dr. Charles W. Jameson Ph.D. Dr. Jameson completed a Ph.D. in Organic Chemistry in
25   1975 at the University of Maryland. He has worked for National Institutes of Health's National
26   Cancer Institute (NCI) as a senior chemist for the NCI's Rodent Bioassay Program where he
27   served as chief chemist, directing all chemistry activities and participating in the development of
28   all two-year rodent bioassays while also serving as secretary for the NCI's Chemical Selection

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 12 of 79




 1   Working Group. Dr. Jameson also served as program leader for the National Toxicology
 2   Program at the NIH's National Institute of Environmental Health Sciences (NIEHS) for 12 years,
 3   during which time he was listed as a contributor to over one hundred chemical peer reviewed
 4   bioassay studies. Dr. Jameson worked on the NTP's Report on Carcinogens (RoC) for more than
 5   18 years and is the Senior Author for 69 NTP RoC Background Documents, also serving as the
 6   RoC Director for 13 years. Dr. Jameson has participated as an IARC Working Group member,
 7   serving as overall Chair or Subgroup Chair, and he is author or co-author in numerous peer-
 8   reviewed scientific publication and book chapters, as well as the editor of several editions of the
 9   RoC and co-editor of two books on toxicity testing. Dr. Jameson is a member of the American
10   Chemical Society and the Society of Toxicology and he participates in peer reviews for six
11   scientific journals. D. Jameson engaged in a systematic review of the literature in this case,
12   utilized a weight-of-evidence methodology utilized by NTP and IARC, and concluded that to a
13   “reasonable degree of scientific certainty that glyphosate and glyphosate based formulations are
14   probable human carcinogens” and also concluded “to a reasonable degree of scientific certainty
15   that glyphosate and glyphosate-based formulations cause NHL in humans.” Ex. 6 – Expert
16   Report of Dr. Charles Jameson at 31-32.
17          Chadi Nabhan, M.D. Dr. Nabhan is a board-certified clinical medical oncologist and past
18   Assistant Professor of Medicine at the University of Chicago. Currently, Dr. Nabhan serves as
19   Medical Director of Cardinal Health. His clinical practice and academic research for the past 17
20   years has focused on lymphomas. Dr. Nabhan also has a sub-specialty in the treatment of
21   lymphomas. Until last year, he treated approximately 30 lymphoma patients per week. Dr.
22   Nabhan regularly relies on both epidemiology and toxicology studies in his clinical practice and
23   is well versed in the etiology, background, and treatment of NHL. Dr. Nabhan engaged in a
24   systematic review of the literature in this case, utilized the Bradford Hill criteria, and concluded
25   that “[t]he weight of the scientific evidence supports causality between Roundup/glyphosate
26   exposure and NHL.” Ex. 7 - Nabhan Report at 21-22.
27          Dennis D. Weisenburger M.D. Dr. Weisenburger is Chair of the Pathology Department
28   of the City of Hope Medical Center. He specializes in the studies of the hematopoietic and

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              Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 13 of 79




 1   immune systems, with a special interest in NHL that has spanned nearly 40 years. His study of
 2   the pathological mechanisms by which NHL develops began in the 1980s when he was directing
 3   large epidemiologic studies related to NHL. Dr. Weisenburger has published over 300 papers on
 4   NHL in peer-reviewed journals, and over 50 papers on the epidemiology of NHL, including
 5   studies on glyphosate and NHL. Dr. Weisenburger engaged in a systematic review of the
 6   literature in this case, utilized the Bradford Hill criteria, and concluded that to “a reasonable
 7   degree of medical certainty that glyphosate and GBFs (including Roundup) can cause NHL in
 8   humans exposed to these chemicals in the workplace or environment.” Ex. 8 - Weisenburger
 9   Report at 13.
10             The Ninth Circuit addressed Dr. Weisenburger’s qualifications and methodology,
11   finding that “[w]here, as here, . . . doctors who stand at or near the top of their field and have
12   extensive clinical experience with the rare disease or class of disease at issue, are prepared to
13   give expert opinions supporting causation, we conclude that Daubert poses no bar based on their
14   principles and methodology.” Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1237 (9th Cir.
15   2017).
16            IARC Working Group Members Dr. Matthew Ross and Dr. Aaron Blair2
17            Dr. Aaron Blair, is a Scientist Emeritus at the National Cancer Institute Division of
18   Cancer Epidemiology & Genetics, Occupational and Environmental Epidemiology Branch.3 He
19   is a lead investigator of the Agricultural Health Study and the Overall Chair of the IARC 112
20   working group. Dr. Blair explains at his deposition how he weighed the totality of the
21   epidemiology studies to support his opinion that glyphosate is a probable human carcinogen.
22   Dr. Matthew Ross is an Associate Professor at the College of Veterinary Medicine, at
23   Mississippi State University. He has a Ph.D in Molecular Biology and expertise on the impact of
24
25   2
       Both parties designated Dr. Blair and Dr. Ross as experts after they were deposed. Monsanto
26   designated Ross and Blair to provide expert opinions about “the IARC Working Group 112
     deliberations and analysis and the resulting IARC Monograph 112 and the relevant scientific
27   evidence with respect to glyphosate.” Curiously, despite its own designation of Drs. Blair and
28   Ross as experts, Monsanto seeks to have them excluded from Plaintiffs’ case.
     3
       https://dceg.cancer.gov/about/staff-directory/biographies/A-J/blair-aaron.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 14 of 79




 1   environmental toxins on signal transduction pathways in cells.4 He was a part of the mechanism
 2   section of the IARC 112 working group. Dr. Ross explains why the strong evidence that
 3   glyphosate is genotoxic and causes oxidative stress are relevant to carcinogenicity in human. 5
 4   II.   Legal Standards
 5          Under Daubert, the Court’s gatekeeping obligation is straightforward—to ensure that the
 6   proffered expert testimony is relevant and based on reliable methods. See Daubert v. Merrell
 7   Dow Pharm., Inc., 509 U.S. 579, 589 (1993). Courts should not weigh evidence or draw
 8   conclusions about the strength of any particular piece of evidence; in the Ninth Circuit, the
 9   Court’s focus “‘must be solely on principles and methodology, not on the conclusions that they
10   generate.’” Wendell v. GlaxoSmithKline LLC, 858 F.3d 1227, 1232 (9th Cir. 2017) (emphasis
11   added) (quoting Daubert, 509 U.S. at 595). In other words, although the mere ipse dixit of an
12   expert is inadmissible, see Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997), it is not the
13   Court’s task to decide whether an expert’s conclusions are correct. See Daubert v. Merrell Dow
14   Pharm., Inc., 43 F.3d 1311, 1318 (9th Cir. 1995) (Daubert II) (“[T]he Daubert test “is not the
15   correctness of the expert's conclusions but the soundness of his methodology”). Nor is the Court
16   empowered “to determine which of several competing scientific theories has the best
17   provenance.” Milward v. Acuity Specialty Products Group, Inc., 639 F.3d 11, 15 (1st Cir. 2011)
18
19   4
       http://www.cvm.msstate.edu/academics/departments-centers/basic-sciences/27-faculty-
20   bio/faculty-basic-sciences/164-ross-matthew
     5
       Monsanto’s reliance on Arias v. DynCorp, 928 F. Supp. 2d 10 (D.D.C. 2013), is misplaced.
21   Arias involved an expert who did not utilize a proper methodology nor conduct a thorough
22   review of the evidence. Id. at 24-25. The Court appropriately found that the expert’s opinion was
     unreliable for failing to follow any methodology in relying on the epidemiology studies. Id. (“Dr.
23   Wolfson does not explain why he decided to credit Eriksson's results and dismiss De Roos's
     results regarding non-Hodgkin lymphoma.”). A review of the expert’s report illustrates why the
24   Arias judge felt compelled to exclude his opinion. His report contains just two conclusory
25   statements that glyphosate was linked to NHL. Ex. 9 – Expert Report of Dr. Michael Wolfoson.
     Here, the experts give a detailed evaluation of the strengths and weaknesses of each study,
26   explain why they give weight to certain studies, and apply the Bradford-Hill criteria. Finally, the
     Arias expert also did not consider the strong mechanistic and animal data, which strongly
27   supports that glyphosate causes NHL. Arias has little relevance compared to the rigorous review
28   conducted by Plaintiffs’ experts in this case.


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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 15 of 79




 1   (internal quotation marks and citations omitted). Instead, the party submitting expert testimony
 2   must demonstrate that “the expert’s conclusion has been arrived at in a scientifically sound and
 3   methodologically reliable fashion.” Id. Daubert demands that an expert, “whether basing
 4   testimony on professional studies or personal experience, employs in the courtroom the same
 5   level of intellectual rigor that characterizes the practice of an expert in the relevant field.” Id.
 6   (quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152 (1999)).
 7           The Supreme Court has identified several non-exhaustive factors that a court may
 8   consider: “whether the theory or technique employed by the expert is generally accepted in the
 9   scientific community; whether it’s been subjected to peer review and publication; whether it can
10   be and has been tested; and whether the known or potential rate of error is acceptable.” Daubert
11   II, 43 F.3d at 1318 (citing Daubert, 509 U.S. at 593-94). A further consideration is whether
12   experts are testifying “about matters growing naturally” out of their independent research, or
13   whether “they have developed their opinions expressly for purposes of testifying.” Wendell, 858
14   F.3d at 1232. The absence of independent research, however, does not render an expert’s
15   methodologies unreliable as an expert may “instead present ‘other objective, verifiable evidence
16   that the testimony is based on scientifically valid principles.’” Id. at 1235 (quoting Daubert II, 43
17   F.3d at 1317-18).
18           The Ninth Circuit further expounded that “[t]hese factors are illustrative, and they are not
19   all applicable in each case.” Id. at 1232. Indeed, the inquiry is “flexible,” id. (quoting Daubert,
20   509 U.S. at 594), and “Rule 702 should be applied with a ‘liberal thrust’ favoring admission.”
21   Id. (emphasis added) (quoting Messick v. Novartis Pharm. Corp., 747 F.3d 1193, 1196 (9th Cir.
22   2014)). Exclusion of expert testimony is only appropriate when such testimony qualifies as
23   irrelevant or unreliable “junk science.” Wendell, 858 F.3d at 1237. Otherwise, the court should
24   cede complex issues to the jury and rely on the traditional safeguards of the adversary system—
25   cross-examination, presentation of contrary evidence, and instruction on the burden of proof—to
26   test and evaluate weak but otherwise admissible evidence. See Milward, 639 F.3d at 13 (“So long
27   as an expert’s scientific testimony rests upon ‘good grounds, based on what is known,’ it should
28   be tested by the adversarial process, rather than excluded for fear that jurors will not be able to

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 16 of 79




 1   handle the scientific complexities.”) (quoting Daubert, 509 U.S. at 590, 596). “[T]he interests of
 2   justice favor leaving difficult issues in the hands of the jury and relying on the safeguards of the
 3   adversary system.” Wendell, 858 F.3d at 1237 (internal citations omitted).
 4          Further, applying Daubert in a phased litigation focused on general causation, Plaintiffs’
 5   experts are only required to proffer testimony on the issue of whether a substance such as
 6   Roundup can cause the alleged injuries—not whether Roundup caused any particular
 7   individual’s injury. See In re Hanford Nuclear Reservation Litig., 292 F.3d 1124, 1133 (9th Cir.
 8   2002) (general causation addresses “whether the substance at issue had the capacity to cause the
 9   harm alleged, while “individual causation” refers to whether a particular individual suffers from
10   a particular ailment as a result of exposure to a substance.).6
11   III. Relevant Regulatory History
12          A.      Recent Glyphosate Assessments
13          IARC is one “of the most well-respected and prestigious scientific bodies,” whose
14   assessments of carcinogenicity of chemicals “are generally recognized as authoritative[.]” Ref.
15   Manual at 20, 565. And, for good reason. Unlike regulatory bodies that often have ties to
16   industry and are shackled with earlier regulatory decisions, IARC is independent. Scientists from
17   around the world, who are renowned and respected experts in their field, systematically reviewed
18   the published and peer-reviewed data and concluded, based on sound, reliable evidence, that
19   glyphosate is a probable human carcinogen.7 The State of California reviewed the IARC
20
21   6
       Lasker & Hollingsworth. Physicians at the gates of Daubert quoting Note, Navigating
     uncertainty: gatekeeping in the absence of Hard Science, 113 Harv. L. Rv. 1467, 1474 (2000)
22
     ((“General causation is ‘a showing that the toxic exposure at issue could have caused the
23   plaintiff’s injury.’”) (emphasis added); Milward, 639 F.3d at 13 (“‘General causation’ exists
     when a substance is capable of causing a disease.”) (quoting Restatement (Third) of Torts:
24   Liability for Physical and Emotional Harm § 28 cmt. c(3) (2010) (“Restatement ”)). See also
     infra at Section VI.
25   7
       See Reference Manual at 91 (“It appears that many of the most well-respected and prestigious
26   scientific bodies (such as the International Agency for Research on Cancer (IARC), the Institute
     of Medicine, the National Research Council, and the National Institute for Environmental Health
27   Sciences) consider all the relevant available scientific evidence, taken as a whole, to determine
28   which conclusion or hypothesis regarding a causal claim is best supported by the body of
     evidence.”).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 17 of 79




 1   classification and similarly concluded that glyphosate is a substance known to the State of
 2   California to cause cancer as of July 7, 2017.8 Echoing decisions by IARC and the State of
 3   California, on October 19, 2017, European Parliament’s Environment Committee (“EPEC”)
 4   voted in favor of an immediate and complete ban on household use of glyphosate-based
 5   formulations (GBFs) and a full ban on GBFs by December 2020.9 And on October 24, 2017,
 6   European Parliament representatives overwhelmingly voted in favor of a non-binding resolution
 7   banning glyphosate in the 28 European Union member states by 2022, again with an immediate
 8   ban on household use.10 The EPEC is not alone; several governmental bodies outside of United
 9   States have instituted similar glyphosate bans.11
10          The EPA’s conclusions, by contrast, are not reliable. First, the EPA has never properly
11   analyzed the data. For example, the December 2016 Scientific Advisory Panel (“SAP”) meeting,
12   convened to discuss the methodology used by EPA’s Office of Pesticide Programs (OPP) in
13   assessing glyphosate, unanimously concluded “that the EPA evaluation does not appear to follow
14   the EPA (2005) Cancer Guidelines.” Ex. 1012 at 19. Numerous panel members concluded that
15   “the weight-of-evidence conclusion based on EPA’s 2005 Guidelines naturally leads to
16   suggestive evidence of potential carcinogenic effects.” Id. at 90. Second, recent documents raise
17   serious concerns about Monsanto’s relationship with EPA officials. For example, in an email
18   between the former Director of the OPP Jack Housenger and Daniel Jenkins from Monsanto, Mr.
19   Housenger assures Monsanto that he has spoken to individuals at the Agency for Toxic
20   Substances and Disease Registry (ATSDR) about putting ATSDR’s review of glyphosate “on
21   hold.” Ex. 11.13 There were also undocumented meetings between Monsanto’s CEO and former
22
     8
23     https://oehha.ca.gov/proposition-65/crnr/glyphosate-listed-effective-july-7-2017-known-state-
     california-cause-cancer.
24   9
       http://www.europarl.europa.eu/news/en/press-room/20171019IPR86411/meps-propose-
     glyphosate-phase-out-with-full-ban-by-end-2020
25   10
        http://www.europarl.europa.eu/news/en/press-room/20171020IPR86572/meps-demand-
26   glyphosate-phase-out-with-full-ban-by-end-2022 .
     11
        http://claregalway.info/wp-content/uploads/2016/09/535_Glyphosate-and-pesticide-bans-
27   around-the-world-as-of-July-20161.pdf
     12
28      FIFRA Scientific Advisory Panel Meeting Minutes and Final Report at 45 (March 16, 2017).
     13
        6/24/2015 Email between Jack Housenger and Dan Jenkins. MONGLY02060344 at 2.

                                                     10
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 18 of 79




 1   EPA administrator Gina McCarthy discussing the makeup of the SAP panelists and the
 2   “[i]mpacts of IARC classification... on personal injury litigation” involving glyphosate. Ex. 12.14
 3   Monsanto also used its resources to “[influence positions of [EcHA members] on classification
 4   proposal” by exposing them to Monsanto’s messaging through “key influential people” and
 5   targeted media campaigns. Ex. 13.15
 6        B.    The “Science” Underlying the Registration of Glyphosate
 7          In 1964, glyphosate was patented as a descaling agent for industrial boilers, due to
 8   glyphosate’s ability to combine with, and thus strip, metallic minerals. Ex. 14. Monsanto
 9   introduced it as an herbicide in the 1970s, and EPA approved its sale, based mainly on
10   toxicology studies by Industrial Bio-Test (“IBT”) laboratory that the “FDA/EPA found to
11   generate fraudulent data...” Ex. 15.16 IBT conducted 30 of the tests used to support glyphosate
12   approval, including a mouse carcinogenicity study deemed invalid.17 Ex. 16,18 at 37.
13          In 1982, an EPA review of a glyphosate rat study found a statistically significant increase
14   in lymphocytic hyperplasia and interstitial testicular tumors.19 Then, in 1985, an EPA review of
15   another glyphosate mouse study concluded that “glyphosate was oncogenic in male mice causing
16   renal tubule adenomas, a rare tumor...”20 In reaching this conclusion, an EPA statistician rejected
17   Monsanto’s assessment that the tumors were unrelated to glyphosate, stating “a prudent person
18   would reject the Monsanto assumption that Glyphosate dosing has no effect on kidney tumor
19   production...”21 During a February 1985 consensus review of the available glyphosate data, a
20
21   14
        EPA talking points for Hugh Grant, MONGLY03550799, MONGLY03550800.
     15
        Action Plan ECHA, MONGLY03914265
22   16
        3/17/2015 email from William Heydens re: CE Collaboration Project MONGLY00990361,
     17
23      Monsanto was forced to redo carcinogenicity tests on glyphosate (to date, Monsanto has never
     conducted a carcinogenicity test on Roundup®).
24   18
        EPA, Summary of the IBT Review Program, July 1983.
     19
        February 18, 1982 EPA memo re: Lifetime feeding study in rats with glyphosate, available at
25
     http://www.centerforfoodsafety.org/files/epa-1983_41310.pdf
     20
26      April 3, 1985 EPA memo re: mouse oncogenicity study, available at:
     https://archive.epa.gov/pesticides/chemicalsearch/chemical/foia/web/pdf/103601/103601-
27   183.pdf
     21
28      Feb. 24, 1985 EPA memo re: use of historical data, available at :
     https://archive.epa.gov/pesticides/chemicalsearch/chemical/foia/web/pdf/103601/103601-

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 19 of 79




 1   group of eight EPA scientists “classified glyphosate as a category C oncogene,” i.e. a possible
 2   human carcinogen.22
 3          Monsanto, aware that a finding of “one tumor in the control group” would destroy
 4   statistical significance, hired a pathologist to review the tumor pathology.23 However, before the
 5   pathologist received the slides, Monsanto seemed to understand that the review would find a
 6   tumor in the control group. Id. Based upon this review—which predictably found a control
 7   group tumor—the EPA required Monsanto to re-cut the mouse kidney slides to obtain further
 8   information on the presence or absence of tumors. Ex. 1724 However, at least two independent
 9   pathologists concluded the presence of a tumor could not be definitively established. Ex. 1825
10   Similarly, the California Department of Food and Agriculture also did “not consider the [tumor]
11   finding in the control male as real.” Ex. 1926 California therefore also concluded that “[t]here is
12   a possible adverse (oncogenic) effect” with glyphosate. Ex. 20.27
13          After Monsanto failed to deter the EPA scientists, a FIFRA Scientific Advisory Panel
14   (SAP) was formed in 1986 to consider the EPA’s classification. Ex. 2128 Monsanto’s strategy
15   was to hire several consultants, including a pathology working group, because “[t]here is a
16   tendency to ‘count the votes’ at SAP meetings. We can make a difference by lining up a large
17   number of experts on our side.” Id. The SAP panel did indeed count the votes, and downgraded
18   glyphosate to Class D based on the number of expert reports submitted by Monsanto. 29
19
20
     170.pdf
21   22
        March 4, 1985 memo re: glyphosate consensus review. Available at:
     https://archive.epa.gov/pesticides/chemicalsearch/chemical/foia/web/pdf/103601/103601-
22
     171.pdf
     23
23      See Plaintiffs’ Br. Regarding their Motion to Compel the Original Pathology Slides in Study
     BDN-77-420 (“Knezevich & Hogan), ECF No. 257, ECF No. 283.
24   24
        March 13, 1985 letter from Monsanto to EPA, MONGLY00233278.
     25
        December 4, 1985 Memo from EPA pathologist, Louis Kazsa
25   26
        April 3, 1987 letter from Monsanto. MONGLY04278109
     27
26      Nov. 17, 1986, CDFA evaluation of Mouse study. MONGLY04278139
     28
        Aug. 20, 1985, Monsanto Memo re: Roundup SAP Meeting, MONGLY04268982
27   29
        Feb. 24, 1986, SAP Panel Report, available at:
28   https://www3.epa.gov/pesticides/chem_search/cleared_reviews/csr_PC-103601_24-Feb-
     86_209.pdf

                                                     12
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 20 of 79




 1   Nevertheless, it concluded that “the occurrence of three neoplasms in high dose male mice is
 2   unusual and using historical controls is statistically highly significant.” Id. The SAP, therefore,
 3   recommended that both the rat and mouse studies be repeated. Id.
 4          In June 1991, an EPA reviewer noted that “due to the high incidences of pancreatic islet
 5   cell tumors in each of the treated male groups...the Toxicology Branch I has recommended that
 6   the carcinogenic potential of glyphosate be addressed by the Peer Review Committee.”30 A
 7   divided committee—the majority concluding that the studies did not show carcinogenicity, with
 8   three members dissenting—nevertheless cautioned “that designation of an agent in Group E is
 9   based on the available evidence at the time of evaluation and should not be interpreted as a
10   definitive conclusion that the agent will not be a carcinogen under any circumstances.”31
11          During the 1990s, independent scientists published new studies concluding that GBFs
12   were genotoxic and induced oxidative stress. To combat these studies, Monsanto hired Dr.
13   James Parry who “was at the forefront of studies in genetic toxicology and the founding father of
14   much of this discipline within the UK.” Ex 22.32 Based on published literature and Monsanto’s
15   unpublished in-house genotoxicity studies, Dr. Parry provided Monsanto a draft report that
16   concluded “glyphosate is a potential clastogenic33 in vitro” and the “clastogenic activity may be
17   reproduced in vivo in somatic cells.”34 Ex. 23, p. 12. Dr. Parry recommended that Monsanto
18   conduct several tests to determine glyphosate’s saftey, which Monsanto never conducted.
19   Martens Dep. at 116:8-119:24. Ex. 24. Further, Monsanto did not provide the Parry report to
20   EPA, as it was required to do under 40 CFR 159.158. See Am. Crop Prot. Ass'n v. U.S. E.P.A.,
21
22   30
        June 3, 1991 Memo from EPA employee William Dykstra, Available at :
23   https://www3.epa.gov/pesticides/chem_search/cleared_reviews/csr_PC-103601_3-Jun-
     91_263.pdf
24   31
        Oct. 30, 1991 memo re: Second Peer Review, available at:
     https://archive.epa.gov/pesticides/chemicalsearch/chemical/foia/web/pdf/103601/417300-1991-
25
     10-30a.pdf
     32
26      Waters, et al. James M. Parry (1940–2010) Mutagenesis (2011) 26 (1): 1-2.
     33
        A clastogen is a mutagenic agent giving rise to or inducing disruption or breakages of
27   chromosomes, leading to sections of the chromosome being deleted, added, or rearranged.
     34
28      Parry Report p. 12. Moreover, Dr. Parry’s conclusions demonstrate that Plaintiffs’ mechanistic
     opinions enjoy general acceptance. MONGLY01314233

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 21 of 79




 1   182 F. Supp. 2d 89 (D.D.C. 2002). Recognizing that Dr. Parry’s report would not aid Monsanto’s
 2   messaging, it elected to publish a ghostwritten article austensibly by Gary Williams, concluding
 3   that “Roundup herbicide does not pose a health risk to humans,” Ex. 25,35 despite its own
 4   scientists admitting internally, “[t]he terms glyphosate and Roundup cannot be used
 5   interchangeably ....For example you cannot say that Roundup is not a carcinogen...we have not
 6   done the necessary testing on the formulation to make that statement.” Exh 27.36 Dr. William
 7   Heydens, current Regulatory Product Safety Asssessment Lead at Monsanto, admitted he
 8   ghostwrote and made final edits to the article. Exh 28.37 Monsanto noted in December 2010 that
 9   Williams (2000) was “an invaluable asset” for its “responses to agencies; Scientific Affairs
10   rebuttals; and Regulator reviews;” and while Williams “has served us well in toxicology over the
11   last decade...we need a stronger arsenal of robust scientific papers to support the safe use of our
12   products as we face the next set of chemistry registration reviews across the globe.” Ex. 30. 38
13          The next EPA registration prompted another round of ghostwritten articles, including the
14   Kier and Kirkland study39 originally written by Monsanto’s David Saltmiras. Ex. 32.40 In
15   requesting funding for the manuscript, Saltmiras stated that it “will be a valuable resource in
16   future product defense against claims that glyphosate is mutagenic or genotoxic.” Ex. 33.41
17   However, after drafting the manuscript, Monsanto concluded that “the manuscript turned into
18   such a large mess of studies reporting genetoxic effects, that the story as written stretched the
19
20
     35
        Williams, et al., Safety Evaluation and Risk Assessment of the Herbicide Roundup and Its
21   Active Ingredient, Glyphosate, for Humans. Regulatory Toxicology and Pharmacology, 31, 117-
     165 (2000); See Ex. 26, MONGLY00977264 (we ghost-write the Exposure Tox & Genetox
22
     sections...we would be keeping the cost down by us doing the writing and they would just edit &
23   sign their names so to speak. Recall that is how we handled Williams Kroes & Munro, 2000.”).
     36
        11/24/2003 email from Donna Farmer. MONGLY00922458.
24   37
        6/21/1999 email from Bill Heydens stating “And Dougie [Cantox] thinks I would actually
     leave the final editing to him unsupervised...”; MONGLY03751016; See also Ex. 29.
25
     MONGLY02598454, Glyphosate Publications Recommendations for Process.
     38
26      12/8/2010, email from Heydens and attachment. MONGLY02067858, pp 12, 16.
     39
        Ex. 31 - Kier & Kirkland, “Review of genotoxicity studies of glyphosate and glyphosate-based
27   formulations” Crit Rev Toxicol. 2013 Apr;43(4):283-315.
     40
28      Kier & Saltmiras Draft Manuscript. MONGLY01691608.
     41
        2/29/2012, manuscript clearance form. MONGLY02117800.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 22 of 79




 1   limits of credibility among less sophisticated audiences.” Ex. 34.42 (emphasis added). Monsanto
 2   decided it needed to “enhance credibility” of the manuscript by giving the impression that the
 3   study was independent and thus replaced Saltmiras as an author with Dr. David Kirkland, a
 4   renowned genotoxicity specialist. Id.; Ex. 35.43 Essentially, Monsanto could not let the data
 5   speak for itself, because the data shows, as our experts explain, that glyphosate is genotoxic.
 6          Immediately after IARC deemed glyphosate a probable carcinogen, Monsanto devised a
 7   response plan due to the “[s]evere stigma attached to Group 2A Classification.” Ex. 36.44 That
 8   plan included convening an expert panel, privately selected by Monsanto, to “[p]ublish
 9   comprehensive evaluation of carcinogenic potential by credible scientists.” Id. Monsanto noted
10   that the “Genetox / MOA” section would be important for “future litigation support,” Id. and the
11   panel would be “[a]ppealing; best if use big names; better if sponsored by some group.” Id.
12          It is significant that Monsanto’s experts rely on these three ghostwritten papers. See Ex.
13   37 – Expert Report of Dr. Warren Foster at 46; Ex. 38 – Expert Report of Dr. Jay Goodman at
14   32-33. Ex. 39.45 It is also important that the EPA OPP relied on these papers:“[t]he CARC
15   evaluated a total of 54 mutagenicity/genotoxicity studies which included studies submitted to the
16   agency, as well as studies reported in the two review articles (Williams et al., 2000, and Kier and
17   Kirkland, 2013).”46
18          It is not surprising then that when IARC—an independent agency—decided to evaluate
19   glyphosate, Monsanto’s chief toxicologist Donna Farmer wrote, “what we have long been
20   concerned about has happened. Glyphosate is on for an IARC review in March of 2015.” Ex.
21
     42
        7/19/2012 Email re: Genotox Review: your approval requested! MONGLY02145917.
22   43
        Saltmiras noted that Kier & Kirkland was “the fifth such Glyphosate related manuscript I have
23   been involved with over the past few years without co--authorship.” MONGLY04086537.
     44
         May 11, 2015, Proposal for Post-IARC Meeting Scientific Projects, MONGLY01228577,
24   45
        Monsanto seems to have underestimated the pervasiveness of its ghostwritten papers,
     as counsel was unaware that its experts relied on them. “THE COURT: . . . In any of
25
     those filings, did you rely on any of these reports that we now know were ghostwritten by
26   Monsanto? MR. HOLLINGSWORTH: No. You’re referring to – you’re referring to the
     2000 article by Williams and others. . . . It’s a review article. It’s a review of all of the
27   literature. . . . Tr. of Proceedings at 46:18-48:19 (Aug. 24, 2017). Ex. 39.
     46
28      10/1/2015 GLYPHOSATE: Report of the Cancer Assessment Review Committee, p. 9,
     file:///D:/Users/jtravers/Downloads/EPA-HQ-OPP-2016-0385-0014.pdf

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 23 of 79




 1   40.47 Dr. Heydens expressed concern also: “we have vulnerability in the area of epidemiology,
 2   we also have potential vulnerabilities in the other areas that IARC will consider, namely,
 3   exposure, genetox, and mode of action...” Ex. 41.48 Prior to IARC’s evaluation, Monsanto
 4   recognized that “a 2A rating (probably human carcinogen) is possible” and developed a plan to
 5   “Orchestrate Outcry with IARC Decision” through “robust media / social media outreach.” Ex.
 6   42.49 Although Monsanto publicly attacks IARC, its consultant hired to monitor the IARC
 7   evaluation stated, “[i]n my opinion the meeting followed the IARC guidelines,” Ex. 43,50 and its
 8   litigation consultant John Acquavella, an epidemiologist, admits that “[t]here is not really much
 9   to quarrel about with respect to [IARC’s] epidemiology classification.” Ex. 44.51 Under oath,
10   Acquavella admitted that IARC got it right. Ex. 45, Acquavella Dep. at 472:1-10. And, prior to
11   this litigation, an article outlining IARC’s methodology was published by over 100 scientists. Ex.
12   46.52 Including five scientists from the Harvard School of Public Health and two of Plaintiffs’
13   experts, Drs. Ritz and Weisenburger.53
14
15   IV. The Bradford-Hill Criteria is the Most Widely Accepted Method for Assessing
16        Causation
17          The Bradford-Hill criteria, the generally accepted method for assessing causation, consist
18
19   47
        9/29/2014 email from Donna Farmer to John Acquavella. MONGLY01207342.
     48
20       10/15/2014 email from Bill Heydens , MONGLY00989918.
     49
         IARC, Carcinogen Rating Of Glyphosate Preparedness And Engagement Plan.
21   MONGLY01021845.
     50
         3/14/2015 email from Thomas Sorahan, MONGLY00977035.
22   51
        , 4/9/2015 email from John Acquavella. ACQUAVELLAPROD00010215.
     52
23       These independent scientists wrote that IARC “[e]valuations involve consideration of all of the
     known relevant evidence from epidemiologic, animal, pharmacokinetic/mechanistic, and
24   exposure studies to assess cancer hazard in humans... each discipline provides important
     evidence toward the overall evaluation of causality according to the Bradford Hill considerations
25
     (Hill 1965).” Pearce, et al. “IARC Monographs: 40 Years of Evaluating Carcinogenic Hazards to
26   Humans” Environmental Health Perspectives, Vol. 123, no. 6, June 2015.
     53
         The fact that these two experts advocated for the IARC methodology prior to being retained as
27   experts makes their opinions particularly admissible because this opinion on the credibility of
28   IARC “w[as] not developed for purposes of this litigation.” Murray v. S. Route Mar. SA, 870
     F.3d 915, 923 (9th Cir. 2017).

                                                     16
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 24 of 79




 1   of nine factors to consider in determining causality.54 “There is no formula or algorithm that can
 2   be used to assess whether a causal inference is appropriate based on these guidelines. One or
 3   more factors may be absent even when a true causal relationship exists.” Federal Judicial
 4   Center’s Reference Manual on Scientific Evidence (3rd. Ed.) (Reference Manual) at 599-600.
 5          Plaintiffs’ experts carefully considered and applied the relevant Bradford-Hill criteria in
 6   reaching their conclusion that glyphosate can cause NHL. Neugut Rep. at 20-22; Ritz Rep. 23-
 7   24; Portier Rep. at 76; Weisenburger Ret. at 11-13; Nabhan Rep. at 19-21. Dr. Jameson used a
 8   similar weight-of-the-evidence methodology, also used by IARC and the National Toxicology
 9   Program (“NTP”), Jameson Rep. at 9; Reference Manual at 655, which also utilizes the
10   Bradford-Hill methodology.55 Ex. 48 – Deposition Transcript and Exhibits of Dr. Aaron Blair at
11   32:24-33:4. Each of these experts came to an independent conclusion as reflected by their similar
12   take on the criteria.56 Each expert thoroughly considered possible bias and confounding and
13   determined those possibilities do not explain the positive association between glyphosate and
14   NHL.
15          Monsanto disregards the very authority it relies upon by arguing that the principles
16   espoused in the Reference Manual preclude application of the Bradford-Hill criteria in this case.
17   Monsanto claims, for example, that case-control studies cannot establish temporality. MSJ at 38.
18   However, Monsanto quotes from an irrelevant Reference Manual section dealing with a different
19
     54
20      The nine factors to consider include: 1. Strength of Association, 2. Consistency, 3. Specificity,
     4. Temporality, 5. Biological Gradient (Dose-Duration Response), 6. Biological Plausibility, 7.
21   Coherence (coherence with existing knowledge), 8. Experiment, and 9. Analogy. See Ex. 47 -
     Austin Bradford Hill, The Environment and Disease: Association or Causation? 58 Proc. Royal
22
     Soc’y Med. 295 (1965).
     55
23      http://monographs.iarc.fr/ENG/Preamble/currentb2studieshumans0706.php
     56
        Generally, Plaintiffs’ experts note that: 1. there is sufficient strength of association in the
24   epidemiology; 2. there is specificity in that glyphosate is associated only with NHL; 3. there is
     strong consistency of an association over multiple studies among multiple populations; 4. the
25
     studies establish temporality; 5. dose –response analyses in Eriksson (2008) and McDuffie
26   (2001) show an even stronger association; 6. there is strong biological plausibility based on
     animal and mechanistic studies; 7. coherence is established because multiple lines of evidence
27   support causality; 8. studies have been replicated and show consistent results; and 9. analogy is
28   not applicable. Neugut Rpt. at 20-22; Ritz Rpt. 23-24; Portier Rpt. at 76; Weisenburger Rpt. at
     11-13; Nabhan Rpt. at 19-21.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 25 of 79




 1   type of epidemiological study called a cross-sectional study that does not exist in this litigation.
 2   Reference Manual at 560-561. Case-control studies specifically look at whether a person was
 3   exposed to the chemical before disease diagnosis. Reference Manual at 569 (“The researcher
 4   then compares the groups in terms of past exposures.”).
 5           Monsanto also claims, but cites no relevant authority, that Plaintiffs’ experts must
 6   eliminate confounding factors before applying Bradford-Hill.57 In fact, the Reference Manual
 7   includes consideration of bias and confounding as part of the Bradford-Hill analysis. Reference
 8   Manual at 605. As Dr. Neugut explains, causality can never be established with “100% surety;”
 9   hypothetical associations which eliminate bias and confounding “don’t exist” for any chemical;
10   and if such a hypothetical association did exist then you “wouldn’t have to have the Bradford
11   Hill criteria to discuss it further.” Ex. 49 – Deposition Transcript and Exhibits of Dr. Alfred
12   Neugut at 311:2-314:6.
13           Monsanto mistakenly claims that “point estimates for associations below a RR of 2.0
14   would not satisfy the strength criterion.” MSJ at 38. While several studies of glyphosate and
15   NHL show RRs greater than 2.0, this is far from a requirement, and Monsanto cites only a law
16   review article, rather than Ninth Circuit precedent, for its position. This argument is “based on a
17   misunderstanding of relative risk, a mis-reading of Ninth Circuit precedent and a lapse in basic
18   logical reasoning.” In re Silicone Gel Breast Implants Prod. Liab. Litig., 318 F. Supp. 2d 879,
19   893 (C.D. Cal. 2004); In re Hanford Nuclear Reservation Litig., 292 F.3d 1124, 1137 (9th Cir.
20   2002) (“the district court erred in requiring epidemiological evidence which would, like the
21   standard rejected by the Third Circuit in In re TMI Litig., require a plaintiff to prove exposure to
22   a specific threshold level of radiation that created a relative risk of greater than 2.0.”); In re
23   Bextra & Celebrex Mktg. Sales Practices & Prod. Liab. Litig., 524 F. Supp. 2d 1166, 1173 (N.D.
24   Cal. 2007) (J. Breyer) (holding that 2.0 issue is not relevant to general causation). Furthermore,
25
26
     57
       Daubert II makes no reference to Bradford-Hill or to confounding variables. 43 F.3d at 1321.
27   Hollander v. Sandoz Pharm. Corp. likewise does not reference Bradford-Hill either and
28   addresses “anecdotal case reports,” holding that they are not sufficient for causation precisely
     because they are not epidemiological studies. 95 F. Supp. 2d 1230, 1237 (W.D. Okla. 2000).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 26 of 79




 1   both Plaintiffs’ and Monsanto’s epidemiologists find relative risks under 2.0 to be sufficient
 2   evidence of an association. Ex. 50 – Deposition Transcript and Exhibits of Dr. Lorelei Mucci at
 3   140:3-143:2; Ex. 51 – Expert Report of Dr. Lorelei Mucci at 29; Ex. 52 – Deposition Transcript
 4   and Exhibits of Dr. Jennifer Rider at 259:4-260:24 (relative risks between 1.19 and 1.26 are
 5   evidence of an association.); Neugut Dep. at 91:2-7 (“Many risk factors that we take very
 6   seriously in public health are really at that level of 1.3 and 1.4, and even 1.2, and we consider
 7   them significant carcinogens...); Neugut Dep. at 333:17.
 8           Monsanto’s reference to Dr. Neugut for the proposition that the epidemiological evidence
 9   is not consistent is false. Dr. Neugut clearly states in his report, and testified at deposition, that
10   the evidence is consistent.58 And, while the epidemiological studies at issue in this case provide
11   statistically significant risks, statistical significance is not required for Bradford-Hill. As Sir
12   Austin Hill states, “[n]o formal tests of significance can answer those questions.” Ex. 47. “A
13   causal connection may exist despite the lack of significant findings, due to issues such as random
14   misclassification or insufficient power.” In re Zoloft (Sertraline Hydrochloride) Prod. Liab.
15   Litig., 858 F.3d 787, 793-794 (3d Cir. 2017) (Bradford-Hill does not require statistical
16   significance). Monsanto’s attempt to disregard the Bradford-Hill criteria is misplaced.
17
     V.    Plaintiffs’ Experts’ Opinions Regarding the Epidemiological Association between
18
           GBFs and NHL Are Admissible; Epidemiological Data Supports General Causation
19
20         The epidemiology at the heart of the general causation question overwhelmingly shows that

21   there is a real risk of NHL from GBF exposure. Numerous independent studies find statistically

22   significant elevated risks, and those that do not still consistently observe an elevated risk.

23         Monsanto asks the Court to ignore dozens of positive findings of causality, in favor of one

24   study that was flawed from its inception. In so doing, it invites the Court to weigh the

25
26
     58
       Neugut Rep. at 22. (“But what is telling in the Forest plots is the consistency – they are
27   primarily positive and to the right of 1. This consistency is amplified by the finding that when the
28   data are meta-analyzed, they do indeed come out to be statistically significant.); see also Neugut
     Dep. at 323:4-7.

                                                        19
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 27 of 79




 1   persuasiveness of the evidence and, in essence, to consider above all else, one study. Weighing
 2   the evidence, of course, is the province of the jury. Monsanto ignores this fact, and fails to
 3   explain how reliance on the full body of scientific literature is improper under Daubert. As
 4   explained below, the epidemiology in this case is so strong and consistently points in a direction
 5   of real risk that it would be improper for this Court to stop this case from proceeding to a jury on
 6
     the issue of general causation.
 7
           C.    The Court’s Role in Considering Epidemiological Data under Daubert
 8
           Epidemiological studies are probative of general causation. See In re Bextra, 524 F. Supp.
 9
     2d at 1172; see, e.g., Brasher v. Sandoz Pharm. Corp., 160 F. Supp. 2d 1291, 1296 (N.D. Ala.
10
     2001) (“Unquestionably, epidemiological studies provide the best proof of the general
11
     association of a particular substance with particular effects, but it is not the only scientific basis
12
     on which those effects can be predicted.”).
13
                 1.    Types of Epidemiological Data
14
15         Epidemiological studies include “(1) randomized controlled clinical trials, (2) observational

16   studies [Case-control and cohort], and (3) meta-analyses.” In re Bextra, 524 F. Supp. 2d at 1173.

17   However, “it may not always be possible to conduct certain types of studies.” Wendell, 858 F.3d

18   at 1236. For example, a randomized controlled trial for glyphosate or GBF exposure “would

19   certainly be unethical.” Rider Dep. at 199:20-200:10; see also Nabhan Dep. at 52:14-53:20.
20   Hence, there are no randomized controlled trials for glyphosate.
21         A case-control study compares people with a disease (cases) to people without a disease
22   (controls) and examines the number of exposed people to determine an odds-ratio, i.e., the
23   increased odds that someone with a disease was exposed to the chemical of interest. Reference
24   Manual at 568. Cohort studies, another type of observational study, compare people who are
25
     exposed to a chemical to those who are not exposed and follow them for a certain time period to
26
     monitor which individuals develop the disease of interest. Id. at 566. “An advantage of the case-
27
     control study is that it usually can be completed in less time and with less expense than a cohort
28

                                                       20
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 28 of 79




 1   study.” Id. at 560. In addition, case control studies are useful when dealing with a rare cancer
 2   like NHL, “because if a cohort study were conducted, an extremely large group would have to be
 3   studied in order to observe the development of a sufficient number of cases for analysis.” Id.; see
 4   also Ritz Rep. at 12-13 (“[T]he rarer a disease, the harder it is for a scientist to create a large
 5   enough study with enough cancer cases enrolled to have adequate statistical power . . . This is
 6
     why it is so hard to study NHL with a cohort study design.”). Finally, meta-analyses, “pool[] the
 7
     results of various studies to arrive at a single figure to represent the totality of the studies
 8
     reviewed. . . Meta-analysis has the advantage of pooling more data so that the results are less
 9
     likely to be misleading solely due to chance.” In re Bextra, 524 F. Supp. 2d at 1174.
10
           “There is no universal ideal study design.” Ex. 53.59 Study limitations occur due to
11
     technology, resource and human constraints. Reference Manual at 553. That said, in weighing
12
     the strength of evidence from strongest to weakest, “systematic review of randomized trials
13
     (meta-analysis) is at the top, followed by single randomized trials, systematic reviews of
14
15   observational studies, single observational studies, physiological studies, and unsystematic

16   clinical observations.” Id. at 723.

17               2.    Interpreting Epidemiological Estimates

18         The difference in the percentage of exposed versus unexposed people who develop a

19   disease is called the relative risk (“RR”) or odds ratio (“OR”). Id. at 568. “[T]he odds ratio from
20   a case-control study is quite similar to a risk ratio from a cohort study.” Id.at 625. “A relative
21   risk [or odd ratio] greater than 1.0 means the product has the capacity to cause the disease.” In re
22   Bextra, 524 F. Supp. 2d at 1172. There is no threshold OR risk that is necessary to establish
23   general causation.60 Neugut Dep. 91:2-7
24         In evaluating a RR or OR, epidemiologists attempt to control for random error, i.e.,
25
26
     59
        Exponent “Design of Epidemiologic Studies for Human Health Risk Assessment of Pesticide
27   Exposures” Prepared for CropLifeAmerica, 1/24/2016, at 29, MONGLY02314040.
     60
28      Monsanto’s claims that to establish general causation, Plaintiffs are required to show a RR or
     OR of at least 2.0, see MSJ at 12, 38, is wrong. See supra at 18-19.

                                                        21
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 29 of 79




 1   determining whether the RR or OR was the result of chance. A confidence interval is the best
 2   way to evaluate random error.61 Reference Manual at 579 (“[A] confidence interval permits a
 3   more refined assessment . . . in an epidemiologic study.”). It provides the RR or OR “found in
 4   the study and a range (interval) within which the risk likely would fall if the study were repeated
 5   numerous times.” Id. at 573.62 When a confidence interval includes 1, the result is not considered
 6
     “statistically significant,” but, as Dr. Ritz explains: “Statistical significance testing has been . . .
 7
     often misused in the medical literature, and its use has thus been widely criticized.”63 Thus, while
 8
     statistical significance is relevant and considered by Plaintiffs’ experts, it should not be used as a
 9
     device to ignore data or otherwise elevate ORs.
10
11         D.    The Epidemiological Data, when Viewed in its Entirety, Strongly Supports a
12               Causal Association between GBFs and NHL

13
             Numerous epidemiological studies examine the association of GBF exposure and NHL.
14
     Many of those studies, by themselves, show a statistically significant elevated risk of NHL for
15
     individuals exposed to GBFs, even when controlling for other pesticides. Others show an
16
     elevated risk, but the confidence interval for the OR encompasses 1 and, thus, is not “statistically
17
     significant.” However, when these studies are compiled, the causal association between GBFs
18
     and NHL is readily apparent. As Dr. Portier explains, “[c]onsistency of the associations across
19
     several epidemiology studies is not simply a matter of seeing how many were statistically
20
     significant and how many were not but must also address the consistency of the direction of the
21
22
     61
23      Plaintiffs discuss the other common method, the p-value, in more detail below.
     62
        The width of the interval around the estimate is determined by the level of confidence used.
24   For example, a 95% confidence interval will be wider than a 90% confidence interval. Id. at
     580. “In practice, most published estimates are 95% confidence intervals, which means that in
25
     95 out of 100 times when sampling your study subjects, you will find the true result (effect
26   estimate) within the given confidence interval.” Ritz Rep. at 5.
     63
        UCLA teaches students “to focus on the point estimate [OR or RR] as a measure of the size of
27   the association between exposure and disease and the confidence interval to gage the precision of
28   this estimate and the informativeness of the data/study.” Ritz Rep. at 12;


                                                        22
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 30 of 79




 1   responses.” Portier Rep. at 15 (emphasis added). Dr. Ritz conducted a comprehensive literature
 2   search and generated the chart below. Ritz Rep. at 14; see also Neugut Rep. at 43 (similar chart);
 3   Portier Rep. at 16 (similar chart).
 4
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27
     The blue line represents the null, i.e., an OR of 1, the red dots represent the estimated OR from
28

                                                     23
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 31 of 79




 1   the study, and the black brackets reflect each OR’s 95% confidence interval. Notably, of the 32
 2   ORs, 28 are to the right of 1, indicating a consistently elevated risk associated glyphosate
 3   exposure. Assuming, for a moment, that there was no risk of GBH causing NHL, i.e., that the
 4   true OR is 1, one would expect to see an equal distribution of ORs above and below 1. Portier
 5   Rep. at 15 (“[I]f the true underlying risk ratio was 1 (no effect), you would expect about half of
 6   the findings to be below 1 and half to be equal to 1 or greater.); Neugut Rep. at 22 (“[I]f the two
 7   phenomena were truly random, then the measured associations in the studies should have
 8   randomly distributed themselves around 1.”). Here, we see the opposite. Overall “the studies are
 9   pointing in the same direction toward a positive effect.” Neugut Rep. at 22 (“[W]hat is telling in
10   the Forest plots is the consistency – they are primarily positive and to the right of 1.”). If the risk
11   were really 1, the probability of observing this number of positive ORs (akin to observing 28
12   heads of 32 flips of a coin) is1:119,437.64 Remarkably, Monsanto ignores this fact, electing
13   instead to focus on a single (flawed) cohort study, to the exclusion of all others. That is not valid
14   science—it is cherry picking data.
15
                1.    Numerous Well-Controlled, Peer-Reviewed, and Independent Studies
16                    Support the Causal Association between GBF Exposure and NHL

17
           There are ample epidemiological studies finding statistically significant elevated risks of
18
     NHL following exposure to GBF. A summary of those studies follows:
19
           Erickson (2008). Eriksson65 is a peer-reviewed, population-based case-control study
20
     published in the well-respected International Journal of Cancer. Rider Dep. at 93:10-19.66
21
     Overall, the study reported a statistically increase in NHL risk with glyphosate exposure (OR
22
23   64


24
25   65
        Ex. 54. M. Eriksson et al, Pesticide exposure as risk factor for non-Hodgkin lymphoma
26   including histopathological subgroup analysis, 123 INT’L J CANCER 7, 1657-63 (July 2008).
     66
        The examined cases were diagnosed between 1999-2002 and, therefore, allowed for a
27   reasonable period of time between exposure and disease development (latency). Ritz Rep. at 17.
28   While a short latency period does not exclude the possibility of exposure-disease relationships in
     cancer, a longer latency period increases confidence in the results. Id.

                                                       24
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 32 of 79




 1   2.02). Ritz Rep. at 17; Neugut Rep. at 15. The study results demonstrate a dose-response effect.
 2   Ritz Rep. at 17; Neugut Rep. at 22. For those with greater than 10 days use, the risk was higher
 3   (OR=2.36, CI 1.04-5.37), while the risk was reduced for those with ≤ 10 days use (OR=1.69, CI
 4   0.70-4.07). The authors note that “[g]lyphosate was associated with a statistically significant
 5   increased OR for lymphoma in our study, and the result was strengthened by a tendency to dose-
 6   response effect... our earlier indication of an association between glyphosate and NHL has been
 7   considerably strengthened.” Ex. 54 at 6.
 8        DeRoos (2003). De Roos67 pooled data from three case-control studies on NHL conducted
 9   in the 1980s in Nebraska, Kansas, Iowa, and Minnesota designed to examine pesticide exposure
10   in farming. Neugut Rep. at 14.68 The study revealed a statistically significant elevated risk
11   between glyphosate use and NHL (OR 2.1) using the standard logistical regression approach.69
12   Id. The authors specifically adjusted for exposure to more than forty other pesticides in arriving
13   at the OR of 2.1. De Roos at 5, Table III (“Each estimate is adjusted for use of all other
14   pesticides listed in Table 3, age and study site.”); Ex. 57 – Deposition Transcript and Exhibits of
15   Dr. Dennis Weisenburger at 114:19-115:2 (noting, as an author on the publication, that it
16   adjusted for pesticide exposure); see also Ex. 58 – Deposition Transcript and Exhibits of Dr.
17   Beate Ritz at 153:12-14;; Neugut Rep. at 14.70 Further, “the OR for glyphosate was among the
18
19   67
        Ex. 55. De Roos. Integrative Assessment of Multiple Pesticides as Risk Factors for Non-
20   Hodgkin’s Lymphoma Among Men, 60 OCCUP. ENVIRON MED. e11, 1-9 (2003). Plaintiff’s expert
     Dr. Wiesenburger is an author of this study.
21   68
        The study, authored by seven independent scientists, was published in the peer-reviewed
     journal Occupational and Environmental Medicine, owned by the “highly respected ... British
22
     Medical Journal.” Routhier v. Keenan (2008) 25 Mass. L. Rep. 50. The pooled sample
23   population included 870 cases and 2,569 controls. Id.
     69
        In the study, the authors also conducted an analysis using hierarchal regression, which yielded
24   an elevated risk of 1.6 that was not statistically significant (CI 0.9-2.8). However, as Plaintiffs’
     experts explain, use of hierarchal regression in this situation is inappropriate. Ritz Rpt. at 19
25
     (“the model assumes that all pesticides included have a similarly strong effect on the outcome;
26   thus we would expect the largest effect estimate to be pulled towards the null of 1 which is what
     happened.”); Neugut Rep. at 14-15E. Chang et al., Meta-Analysis of Glyphosate Use and Risk of
27   Non-Hodgkin Lymphoma, Exponent 1, 5 (2017) at 5. Ex. 56.
     70
28      Dr. Neugut misspoke when he agreed to a misleading question by Monsanto about whether the
     logistic regression adjusted for other pesticides. His report states that it did adjust for other

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 33 of 79




 1   highest of 47 pesticides tested, which suggests that glyphosate may indeed be the pesticide most
 2   strongly related to NHL[.]” Ritz Rep. at 19.71
 3        De Roos also conducted an analysis of the combined effect of using multiple potentially
 4   carcinogenic pesticides which resulted in a doubling of the risk for NHL. Id. at 5. However,
 5   when glyphosate was removed from the analysis the OR dropped to 1.1 which suggests that
 6   glyphosate was responsible for the increase and not other pesticides. Id.; Portier Rep. at 11.
 7        Hardell (2002). Hardell72 involved a pooled analysis of two Swedish case-control studies.
 8   The pooled population included 515 cases and 1141 controls. The peer-reviewed study,
 9   published in the journal Lymphoma & Leukemia, revealed a statistically significant (CI 1.08-
10   8.52) OR of 3.04, controlling for age, study, county and vital status. Portier Rep. at 10; see Ritz
11   Rep. at 17-18. Although the OR was attenuated when exposure to other pesticides was controlled
12   for in the multivariate analysis, exposure to glyphosate still posed the greatest risk factor for
13   NHL when compared to the other pesticides. Hardell at 1047, Table VII.
14        McDuffie (2001). McDuffie73 was a multicenter, population-based study performed in six
15   Canadian provinces. Neugut Rep. at 14. It was authored by seven independent scientists and
16   published in a peer-reviewed journal on which Dr. Rider serves as a peer-reviewer. Rider Dep. at
17   64:18-65:8. The study included 517 male cases and 1506 controls. Id. The authors reported a
18   weak increased risk of NHL with never/ever glyphosate exposure, OR=1.26 (CI 0.87-1.81). Ritz
19   Rep. at 18; McDuffie (2001) at 1158, Table 2. But when the authors assessed men with greater
20
21   pesticides. Neugut Rep. at 14-15; see e.g. Diamondback Firearms, LLC. v. Saeilo, Inc., No. 6:10-
     CV-1664-ORL, 2014 WL 496920, at *10 (M.D. Fla. Feb. 6, 2014).
22   71
        Monsanto falsely claims that Plaintiffs’ experts did not rely on any statistically significant
23   studies that adjusted for pesticides. De Roos (2003) is discussed by all of Plaintiffs’
     epidemiological experts, with reasons provided for why they chose to rely on this study. Ritz
24   Rep. at 15, 19; Weisenburger Rep. at 4-6; Neugut Rep. at 14-15; Naban Rep. at 12; Jameson
     Rep. at 17; Portier Rep. at 10.
25   72
        Ex. 59. Hardell L., et al. Exposure to pesticides as risk factor for non-Hodgkin's lymphoma
26   and hairy cell leukemia: pooled analysis of two Swedish case-control studies, 43 LEUK
     LYMPHOMA 5, 1043-49 (2002).
27   73
        Ex. 60. McDuffie, H.H., et al., Non-Hodgkin’s Lymphoma and Specific Pesticide Exposures in
28   Men: Cross-Canada Study of Pesticides and Health, CANCER EPI., BIOMARKERS & PREVENTION,
     Vol. 10, 1155–1163 (November 2001).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 34 of 79




 1   than 2 days of GBF exposure per year, it revealed a statistically significant (CI 1.20-3.73)
 2   doubling of NHL (OR=2.12). The authors concluded that “we demonstrated a dose-response
 3   relationship” with glyphosate and NHL. Id. at 1160-1161.
 4        The North American Pooled Project (NAPP) (2015). The NAPP is an ongoing analysis
 5   that has pooled data previously analyzed in De Roos (2003) and McDuffie (2001) to examine
 6   glyphosate and NHL.74 With 1690 cases and 5131 controls, “NAPP reported an elevated risk of
 7   all NHL with any glyphosate use (OR=1.51, 95% CI 1.18-1.95), and a dose-response effect was
 8   seen with greater use (>2 days/year, OR=2.66, 1.61-4.40).”75 It also showed statistically
 9   significant increases among NHL subtypes. Ritz Rep. at 14-15. The odds ratios presented at the
10   three conferences have varied slightly, but always show an increased risk. Ritz Dep. at 278:20-
11   283:4.76 A draft manuscript cited by defense experts concludes:
12
13   74
        http://www.occupationalcancer.ca/2013/north-american-pooled-project/.
     75
14      Monsanto incorrectly states that the NAPP reported a relative risk of 1.13 at ISEE 2015.
     Monsanto and its experts are relying on a draft slide deck produced from Dr. Blair’s file. The
15   native file shows that slide 26 was deleted from the power point and not presented at the
     conference. Ex. 61. Dr. Ritz reviewed it at her deposition and noted: “This is not a valid model in
16   my mind because you have to show me that 2,4-D, dicamba, and Malathion are actually related
17   to glyphosate use and also are independent risk factor for NHL ... . Also I would not accept this
     model because we would not want to adjust for the use of proxy respondents or personal
18   protective equipment because ...You cannot adjust a model for exposure mismeasurement. These
     are confounded and shouldn’t be in the models.” Ritz Dep. at 285:17-286:9, 293:15-21. Dr. Ritz
19   also noted that by excluding proxy respondents “[y]ou are pretty much reducing sample size, and
20   when you reduce sample size, you automatically lose statistical power to show a statistically
     significant effect.” Id. 427:20-23.
21   76
        While a manuscript has not been published, Dr. Ritz reviewed the study’s primary results. Ritz
     Dep. at 400:2-16; Ritz Rep. at 15-16; Ex. 62 – Expert Rebuttal Report of Dr. Beate Ritz at 8 (in
22
     order to be presented at meetings like the ISEE’s 2015 meeting in Brazil, studies in poster and
23   published-abstract form need to be peer-reviewed). See also Ex. 63, Pahwa M., et al. A Detailed
     Evaluation of Glyphosate Use and the Risk of Non-Hodgkin Lymphoma in the North American
24   Pooled Project. . Canadian Association for Research on Work and Health; October 16-18 2016;
     Toronto (“CARWH 2016”); Ex. 64, Pahwa M., et al. An evaluation of glyphosate use and the
25
     risks of NHL major histological subtypes in the North American Pooled Project. International
26   Society for Environmental Epidemiology; August 31, 2015; Sao Paulo, Brazil (“ISEE 2015”);
     and Ex. 65, Pahwa M., et al. A Detailed Assessment of Glyphosate Use and the Risks of Non-
27   Hodgkin Lymphoma Overall and by Major Histological Sub-types: Findings from the North
28   American Pooled Project. International Agency for Research on Cancer; June 10, 2016 (“IARC
     2016”).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 35 of 79




 1
             Our results are also aligned with findings from epidemiological studies of other
 2
             populations that found an elevated risk of NHL for glyphosate exposure and with
 3           a greater number of days/year of glyphosate use, as well as a meta-analysis of
             glyphosate use and NHL risk. From an epidemiological perspective, our results
 4           were supportive of the IARC evaluation of glyphosate as a probable (group 2A)
             carcinogen for NHL.
 5
 6   Ex. 66 (footnotes omitted).77 The authors specifically considered recall bias, and, similar to
 7   Plaintiffs’ experts, rejected that recall bias is a concern in the study. Id. at 13.
 8           Even with the above data, Monsanto argues that Plaintiffs cannot establish general
 9   causation because there is an absence of “statistically significant associations proven through
10   epidemiology.” MSJ at 11. Monsanto is wrong.
11               2.    Peer-Reviewed Meta-Analysis of Epidemiological Data Support Causality
12         The numerous individual, peer-reviewed studies, showing a statistically significant elevated
13   risk, are confirmed in peer-reviewed meta-analyses. Neugut Rep. at 22 (“This consistency is
14   amplified by the finding that when the data are meta-analyzed, they do indeed come out to be
15   statistically significant.”); see also Mullins v. Premier Nutrition Corp., 178 F. Supp. 3d 867, 884
16   (N.D. Cal. 2016) (meta-analysis is considered the strongest of medical evidence types). The first
17   meta-analysis78 included 2,928 cases from 6 studies79 and reported a statistically significant (CI
18   1.1-2.0) increase (OR 1.5) in NHL risk with any glyphosate exposure. Ritz Rep. at 16; Neugut
19   Rep. at 17.80 The study also showed a statistically significant (CI 1.1-3.6) doubling in risk for B-
20
21   77
        See Pahwa M., et al., An Evaluation of Glyphosate Use and the Risks of Non-Hodgkin
     Lymphoma Major Histological Subtypes in the North American Pooled Project (NAPP).
22
     Occupational Cancer Research Center, 2015 at 2-3 (“NAPP 2015”).
     78
23      Ex. 67. Schinasi & Leon, Non-Hodgkin Lymphoma and Occupational Exposure to
     Agricultural Pesticide Chemical Groups and Active Ingredients: A Systematic Review and Meta-
24   Analysis, 11 INT. J. ENVIRON. RES. PUBLIC HEALTH 4, 4449-4527 (2014).
     79
        The studies included De Roos (2003), De Roos (2005), Eriksson (2008), Hardell (2002),
25
     McDuffie (2001) and Orsi (2009).
     80
26      Dividing data between a case control study in people who have ever/never used GBF is, itself,
     a conservative approach because it groups people with minimal exposure together with people
27   with significant exposure, effectively diluting the risk. See Ritz Dep. at 424:20-425:7. Thus, in
28   studies that attempt to better classify exposure, one sees more dramatic odd ratios. For example,
     in one study, researchers found a statistically significant (CI 1.61-4.40) increased risk of 2.66 in

                                                        28
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 36 of 79




 1   cell lymphoma (OR 2.0), a common NHL type. Ritz Rep. at 16. IARC conducted the second
 2   meta-analysis and examined the same six studies but adjusted the data from Hardell (2002) and
 3   Eriksson (2008). Ritz Rep. at 16; Neugut Rep. at 17. IARC’s meta-analysis also showed a
 4   statistically significant (CI 1.03-1.65) increased risk of GBF exposure (OR 1.3). Id.
 5          The third meta-analysis was sponsored by Monsanto and conducted by Exponent, Inc., a
 6   for-profit commercial research organization.81 Like the previous meta-analysis, Exponent used
 7   the same six core epidemiological studies but evaluated the data using four unique models. The
 8   models yielded the following results: OR 1.27 (CI 1.0182-1.59), OR 1.3 (CI 1.03-1.64), OR 1.32
 9   (1.00-1.73), and OR 1.37 (CI 1.04-1.82).83 Portier Rep. at 15-16. These results were consistent
10   with the first two meta-analyses, showing a “statistically significant positive effect.” Id. at 16;
11   accord Ritz Rep. at 23; Neugut Rep. at 17.84 For both the IARC and Monsanto meta-analyses,
12   four of the six studies adjusted for other pesticides. Portier Rep. at 21. But because the odds
13   ratios from the two studies that did not adjust for pesticides were lower than 1.3 (Orsi and
14   McDuffie), limiting the analysis to ORs adjusting for pesticides would actually increase the
15   strength of the association between glyphosate and NHL.
16         E.    Monsanto’s Focus on the AHS Study, to the Exclusion of Others, Is Misplaced
17
18
     people who use GBFs more than 2 days per year, versus a smaller, albeit still statistically
19   significant (CI 1.18-1.95) OR of 1.51 for ever/never exposure. Ritz Rep. at 15-16.
     81
20      Ex. 68. Chang & Delzell, Systematic review and meta-analysis of glyphosate exposure and
     risk of lymphohematopoietic cancers, 51 J. ENVIRON. SCI. HEALTH B 6, 402-434 (2016).
21   82
        In the published report, Exponent did not disclose the confidence intervals beyond a single
     decimal point, suggesting the confidence intervals included 1. Dr. Portier, however, obtained the
22
     complete results, revealing that only one of the estimates included 1. See Portier Rep. at 15 n.5.
     83
23      Ex. 10, FIFRA Scientific Advisory Panel Meeting Minutes and Final Report at 45 (March 16,
     2017)
24   84
        Monsanto’s motion cites an unpublished, non-peer-reviewed meta-analysis by Exponent,
     released three weeks after Plaintiffs served expert reports. Ex. 56. Chang & Delzell, Exponent,
25
     Inc., Meta-Analysis of Glyphosate Use and Risk of Non-Hodgkin Lymphoma, 1-12 (May 24,
26   2017). The “new” meta-analysis is based on two documents Monsanto’s counsel Eric Lasker
     gave to Exponent, purportedly containing data from an unpublished AHS manuscript and data
27   from a slide presentation relating to the NAPP study. Id. at 1, n.1-2. These documents are “non-
28   peer-reviewed” and the authors admitted they “cannot verify the accuracy of these results[.]” Id.
     at 6. This litigation-driven report, not surprisingly, concludes there is no elevated risk.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 37 of 79




 1        Monsanto asks the Court to ignore multiple peer-review studies demonstrating that
 2   glyphosate causes NHL and to limit its review to the Agricultural Health Study (“AHS”). At the
 3   Daubert phase, the only relevant issue is whether Plaintiffs’ experts properly considered the
 4   AHS in rendering their opinions. Where experts have considered the relevant studies, “Rule 702
 5   [does] not require, or even permit, the district court to choose between the studies at the
 6   gatekeeping stage.” Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 433 (7th Cir. 2013).
 7        Here, there is no dispute that each expert has, in detail, considered the AHS, concluding
 8   that its value to the question of causation is limited due to numerous design flaws.85 In fact, Dr.
 9   Ritz, the chairperson of the AHS advisory board, has lectured her students on the limitations of
10   the AHS cohort since 2012, four years before she was retained as an expert. Ritz Dep. at 20:15-
11   24:13 431:1-432. The broad scientific community consensus is that the AHS has serious flaws,
12   limiting its value in assessing the risk of NHL.
13             1. There Is Broad Consensus that the AHS Is Not Reliable or Informative.
14          The AHS was a cohort study initiated in 1993 by the National Institute of Health to study
15   the health of licensed restricted use pesticide applicators (RUPAs) and their spouses from North
16   Carolina and Iowa.86 Its design has been controversial from its inception, and Monsanto has
17   alternatively disparaged or praised the study, depending on how it affects the viability of its
18   products. In November 1999, Dr. Acquavella noted that the AHS could cause “significant
19   concern for industry” and warned of severe “economic consequences of adverse, unopposed
20   epidemiologic findings[.]” Ex. 69.87 In June 1999, Dr. Farmer stated that “[m]any groups have
21
     85
        Ritz Rep. at 20-23; Ritz Reb. Rep. at 2-7; Neugut Rep. at 11-13; Portier Rep. at 13-14;
22
     Weisenburger Rep. at 5; Nabhan Rep. at 12-13; Jameson Rep. at 17-19; Ritz Dep. at 318:25-
23   334:6, 354:24-395:16, Neugut Dep. at 135:13-148:115, 163:2-172:11.
     86
        Exhibit 53, Exponent “Design of Epidemiologic Studies for Human Health Risk Assessment
24   of Pesticide Exposures” Prepared for CropLifeAmerica, 1/24/2016, MONGLY02314040 at pp.
     19-23; Ritz Rep. at 22; Neugut Rep. at 12. The data collection entailed an enrollment asks about
25
     respondents’ pesticide usage from 1993-1997, with health outcome data to be collected through
26   questionnaires or state cancer registries at undetermined points in the future. Id. Follow-up
     questionnaires were planned to update investigators on changes in pesticide use among the
27   cohort. Id. Over 250 publications have been generated by the AHS reporting on a wide range of
28   pesticides and endpoints. See https://aghealth.nih.gov/news/publications.html.
     87
        November 3, 1999, internal Monsanto memo. MONGLY00894004

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               Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 38 of 79




 1   been highly critical of the study as being a flawed study, in fact some have gone so far as to call
 2   it junk science. It is small in scope and the retrospective questionnaire on pesticide usage and
 3   self reported [sic] diagnoses also from the questioneer [sic] is thought to be unreliable.” Ex.
 4   70(emphasis added).88
 5             Concerned about how the AHS could adversely affect Monsanto’s various products, in
 6   2000, CropLifeAmerica (“CLA”), the pesticide industry group, commissioned scientists from the
 7   Harvard School of Public Health and other universities89 to review the AHS’s design study (“The
 8   Harvard Study”),90 Ex. 71. Those scientists identified several serious study flaws, the most
 9   notable being that “the low and variable response rates to the supplemental questionnaires could
10   create increased bias potential” and “[n]ondifferential exposure misclassification will produce
11   bias toward the null”91 Yet Monsanto did not provide this study to its litigation experts, each of
12   whom based opinions on the AHS results. See Mucci Dep. 13:12-16:16. Prior to her deposition,
13   Dr. Mucci had not considered the AHS flaws that the Harvard Study identified, raising serious
14   questions about the rigor with which she arrived at her opinions based on the AHS. Id. at 17:25-
15   51:9.92
16        Over time, the concerns the Harvard Study raised became a reality. According to a 2016
17   Exponent report, again commissioned by Monsanto and CLA: “only 44% of enrolled pesticide
18   applicators completed the detailed take-home questionnaire shortly after enrollment, and
19
     88
        5/31/1999 email from Donna Farmer. MONGLY00877463
20   89
        Several of these scientists now consult for Monsanto through Exponent.
     90
21      Gray, et al. The Federal Government's Agricultural Health Study: A Critical Review with
     Suggested Improvements Human and Ecological Risk Assessment : Vol. 6, No. 1, pp. 47-71
22   (2000)
     91
        Other flaws identified were: included (1) farmers that apply pesticides frequently and
23   over many years might employ particular experience and care during application that
     reduces their absorption over farmers who apply them less frequently or have less
24   farming experience; (2) misclassification would reduce the study’s ability to detect actual
     cause-effect relationships and will thus reduce the findng’s validity; and (3) the
25   chemicals, formulations and applications used on farms have changed significantly over
     time, which is important “because if pesticides cause chronic diseases, such as cancer and
26   neurological disease, the biologically meaningful measure of exposure may be a
     cumulative dose figure that accounts for farming practices years or even decades ago.”
27   The Harvard Study at 52, 57-58, 61.
     92
28      Plaintiffs can find no evidence that this document was provided to the EPA either, which was
     actively analyzing the AHS study with respect to glyphosate at the time.

                                                      31
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 39 of 79




 1   participation in follow-up questionnaires was also highly incomplete.”93 Exponent noted even
 2   more biases and flaws with the AHS cohort, including:
 3
            [1] Crude summary measures of exposure . . . [which] substantially limits the
 4
            potential for results from this study to be used in dose-response assessment . . .
 5
            [2] [A]n analysis of bias due to missing data—another form of selection bias . . .
 6
            [3] The Agricultural Health Study was restricted to licensed private and
 7          commercial pesticide applicators and spouses of private pesticide applicators
 8          residing in Iowa and North Carolina at study . . .

 9          [4] In epidemiology, there is no universal ‘ideal study design.’ . . . [P]rospective
            study design is often preferred, but not for rare outcomes, especially those with a
10          long latency period during which study attrition might be high.
11
     Id. at 15, 19, 20, 29; see also Rider Dep. at 113:10-16; Ritz Rep. at 12-13; Neugut Rep. at. 4-5
12
     (agreeing that NHL is rare with a potentially long latency period).
13
               2. De Roos (2005) is not the most reliable study on Glyphosate and NHL
14
          Only one publication from the AHS addresses the risk of NHL and glyphosate. De Roos
15
     (2005) reported a 20% increase in NHL among glyphosate users in its primary analysis. Ex. 72.94
16
     A 20% increased risk supports evidence of causation, even though the OR was not statistically
17
     significant—especially in light of so many other significant OR showing the risk. See Mucci
18
     Dep. at 140:3-143:2 (a non-significant OR of 1.23 can “provide further evidence to support the
19
     previously reported association[.]”); Mucci Rep. at 29 (“[S]pecific types of farming were
20
     positively associated with NHL risk” with increased risks of 19% and 26%): Rider Dep. at
21
     259:4-260:24 (characterizing an increased non-significant risk of 19% as evidence of “a modest
22
     increased incidence of lethal prostate cancer[.]”). Even when an analysis adjusted for other
23
     pesticides, the AHS still showed a 10% increase in the risk of NHL. Ex. 72. This elevated risk
24
     was apparent despite the analysis being marred by incomplete information, resulting in the
25
26
     93
      For dates of questionnaires, see https://aghealth.nih.gov/collaboration/questionnaires.html.
27   94
      De Roos, et al. “Cancer Incidence among Glyphosate-Exposed Pesticide Applicators in the
28   Agricultural Health Study” Environ Health Perspect. 2005 Jan; 113(1): 49–54; see also Rider
     Dep. 208:7-10; Ritz Rep. at 22; Neugut Rep. at 12.

                                                     32
               Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 40 of 79




 1   exclusion of 13,000 members95 of the cohort, and effectively reducing the sample to something,
 2   as Dr. Farmer called it, “small in scope.”
 3           Plaintiffs’ experts raise the very issues the Harvard Study and Exponent identified about
 4   the AHS, as did EPA’s September 2016 Scientific Advisory Panel review of glyphosate:
 5
               The single cohort of the AHS by De Roos et al. (2005), is given a higher weight
 6
               than case-control studies, without regard to other extremely relevant aspects of the
 7             realized study designs... for multiple reasons, including the young ages of
               participants, low cancer incidence rate to date, and selection issues, there are
 8             important concerns about the AHS, particularly with the published report (De
               Roos, et al., 2005), that should be taken into account. The usual higher ranking
 9
               of cohort studies vis-à-vis case-control studies is not applicable in this
10             particular review.

11
     Ex. 10.96 Drs. Ritz and Neugut agree that the young ages of participants and low cancer
12
     incidence rate are problems because of lack of information when following a group of young
13
     workers for only 4-8 years. Neugut Rep. at 12; Ritz Rep. at 21.
14
             Another major bias in the AHS study occurs through non-differential misclassification of
15
     exposure, as the Harvard Study highlights. In fact, every expert here agrees that non-differential
16
     misclassification of exposure in cohort studies will bias results towards the null. Mucci Dep. at
17
     44:11-21; Rider Dep. at 220:17-22; Ritz Rep. at 8; Neugut Rep. at 13. Dr. Blair published a
18
     paper in 2011, describing this AHS bias and concluding that “pesticide misclassification may
19
     diminish risks estimates to such an extent that no association is obvious, which indicates false
20
     negative findings might be common.” Ex. 73;97.; Neugut Dep. at 334:25-337:6.
21
             Indeed, the exposure misclassification for glyphosate is exacerbated by changing farming
22
     practices as foretold by the Harvard Study. In De Roos (2005), exposure estimates were based
23
     solely on the first questionnaires between 1993-1997, yet NHL cases were counted through
24
     December 2001. Dr. Mucci agrees that if a cohort member filled out a questionnaire in 1993, but
25
26
     95
27        See Mucci Rpt. at p. 33
     96
        FIFRA Scientific Advisory Panel Meeting Minutes and Final Report at 28 (March 16, 2017).
     97
28    Blair, et al. “Impact of pesticide exposure misclassification on estimates of relative risks in the
     Agricultural Health Study” Occup Environ Med published online January 21, 2011.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 41 of 79




 1   started using glyphosate in 1994, then s/he would be counted as unexposed to glyphosate and is a
 2   “valid concern.” Mucci Dep. at 278:24-279:20. The SAP affirmed this problem, Ex. 10 at 32; see
 3   Ritz Rep. at 22; Neugut Rep. at 13,98 noting another significant bias occurs because the first
 4   enrollees were providing data in 1993, two years before the 1995 explosion in Roundup use,
 5   while later enrollees provided data two years after the increased use. Ritz Rep. at 22. This time-
 6   varying exposure creates different baseline conditions for the cohort members, making any
 7   exposure calculations unreliable. Id. Based on the above, Monsanto’s attempt to rely on the
 8   AHS, as published in De Roos (2005), to the exclusion of all other studies, is misplaced. Indeed,
 9   Dr. De Roos, the primary author of the only published AHS paper related to glyphosate and
10   NHL, was one of dozens of independent scientists who co-authored a paper supporting IARC’s
11   evaluation of the epidemiology relating to glyphosate, agreeing with Dr. Portier and concluding
12   that “[t]he most appropriate and scientifically based evaluation of the cancers reported in humans
13   and laboratory animals as well as supportive mechanistic data is that glyphosate is a probable
14   human carcinogen.” Ex. 74.99
               3.   Monsanto’s Reliance on an Unpublished AHS Draft Manuscript to
15
                    Overcome Problems with the Original AHS Study Is Unavailing.
16
17        Through discovery of Dr. Blair, Monsanto obtained an incomplete, unpublished,

18   preliminary 96-page draft analysis of the AHS cohort assessing over fifty pesticides (including

19   glyphosate) and their relationship to NHL. This version is not published because “it became clear

20   that it would be impossible to do a thorough evaluation of all major pesticide groupings due to

21   the sheer volume of information that was important to include.”100 The investigators, therefore,

22   decided not to pursue the analysis of the twenty herbicides. Id.

23        In the incomplete manuscript, the AHS researchers attempted to address the problems in

24
     98
        Before 1996 when genetically modified seeds entered the marketplace, glyphosate accounted
25
     for 3.8% of the herbicide’s total volume; by 2009, glyphosate accounted for 53.5% of total
26   agricultural herbicide use. Ritz Reb. Rep. at 3.
     99
        Portier, et al. 2015 “Differences in the carcinogenic evaluation of glyphosate between the
27   International Agency for Research on Cancer (IARC) and the European Food Safety Authority
28   (EFSA)”. Notably, Dr. Alavanja, another author of De Roos (2005), joined the statement.
     100
         https://www.reuters.com/investigates/special-report/glyphosate-cancer-data/

                                                     34
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 42 of 79




 1   the original AHS analysis. They conducted follow-up questionnaires to get more up-to-date
 2   exposure assessments from the cohort. Even so, nearly 40% of the cohort did not respond; thus,
 3   only about 60% of the exposure data was updated. To fix this problem, the researchers then
 4   imputed data from the people who did respond to the non-responders. This is improper:
 5
            While under some, limited circumstances it is an acceptable epidemiological
 6
            approach to impute or ‘guestimate’ certain unavailable data, one must be
 7          extremely careful when imputing/guestimating a critical piece of data, such as
            exposure . . . The validity of the results of such an imputation/guestimation
 8          become extremely questionable because when applied, the study authors need to
            assume glyphosate/GBF use was based on historical use, and do not apply the
 9
            increased use for any person who did not report their pesticide use, i.e. the non-
10          responders.

11
     Ritz Reb. Rep. at 4.101 Indeed, the increased Roundup use also diminishes power in the AHS
12
     study because it further decreases the control group. As of 1998, 76% of the cohort used
13
     glyphosate. De Roos (2005). As glyphosate use has increased exponentially, there will likewise
14
     be an increase in the percent of the cohort using glyphosate. Ritz Reb. Rep. at 6. These
15
     significant errors in the draft manuscript highlight the pitfalls of relying on unpublished material.
16
     The AHS investigators did eventually publish the insecticide and fungicide portion of the
17
     manuscript, Alavanja (2014). Ex. 76.102 However, on February 27, 2014, the International
18
     Journal of Cancer rejected the article. Ex. 77103 The disappointed authors noted that “[i]t has
19
     been a very long struggle to get the manuscript into its current form.” Id. The article was then
20
     submitted to PlosOne, where it was reviewed by only one peer–reviewer. On June 11, 2014, the
21
     journal stated that the manuscript was “not suitable for publication as it currently stands” and
22
     required major revisions. Ex. 75.104 These rejections came after a year of revising and
23
24
     101
         When the authors were asked to clarify the number of individuals for which data was
25
     imputed, the authors responded that: “Imputation was performed on all 20,968 applicators...”
26   (emphasis added). See Ex. 75 at 10. 6/21/2014 email re: Plos one decision: revise.
     102
         Alavanja, “Non-Hodgkin Lymphoma Risk and Insecticide, Fungicide and Fumigant Use in
27   the Agricultural Health Study”. PLoS ONE 9(10): e109332 (2014)
     103
28       Ex. 77, 2/27/2014 email amongst AHS investigators
     104
         6/21/2014 email re: Plos one decision: revise.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 43 of 79




 1   reformulating the data, the draft manuscript relied upon by Monsanto was nowhere near to being
 2   ready for publication. The discrepancies, including different counts for NHL, between the
 3   published and draft study are highlighted by Dr. Ritz. Ritz Reb. Rep. at 5-6.
 4          Two key questions for the Court under Daubert include “whether a theory or technique ...
 5   can be (and has been) tested” and “whether the theory or technique has been subjected to peer
 6   review and publication.” Daubert, 509 U.S. at 593-594 (1993). While not dispositive,
 7   “submission to the scrutiny of the scientific community is a component of ‘good science,’ in part
 8   because it increases the likelihood that substantive flaws in methodology will be detected.” Id.
 9   Furthermore, draft studies considered solely for the expediency of litigation are particularly
10   unreliable and demand exclusion. In re Rezulin F. Supp. 2d at 562 (excluding a preliminary draft
11   report where “reliance on the unpublished [] report was not based on scientific method but on the
12   expediencies of this particular litigation.”). While flaws can be exposed on cross-examination,
13   cross-examination “does not act as a substitute for peer review.” Wagner v. Hesston Corp., No.
14   CIV.03-4244(JNE/JGL), 2005 WL 1540135, at *5 (D. Minn. June 30, 2005 aff’d, 450 F.3d 756
15   (8th Cir. 2006).
16         The unpublished draft manuscript also fails the testability factor. The Harvard study
17   predicted AHS’s unreliability if there was too much missing data on follow-up questionnaires, and
18   Exponent confirmed in 2016 that the follow-up questionnaires were “highly incomplete.” See
19   supra.105 The AHS investigators attempts to fill in these gaps by guessing glyphosate usage based
20   on an admittedly “untestable assumption.” Ex. 78.106 (emphasis added)
21         In addition to the draft not being peer-reviewed, Dr. Blair, one of the authors, warned
22   Monsanto that it should not use the data from the manuscript: “Now you [Erik Lasker] present it
23   as if the analyses were completed. Analyses were done, manuscripts were in description, but the
24   work wasn’t finished, which means it’s incomplete, and that you don’t want to be reporting on.
25
26
27   106
         Heltshe, et al. “Using multiple imputation to assign pesticide use for nonresponders in the
28   follow-up questionnaire in the Agricultural Health Study.” J Expo Sci Environ Epidemiol. 2012
     July ; 22(4): 409–416.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 44 of 79




 1   And we didn’t.” Blair Dep. at 206:25-207:4.107 Dr. Blair further explained it would be irresponsible
 2   “to rush something out that's not fully analyzed or thought out...That's irresponsible.”108 Id.. at
 3   204:15-20. Relying on this data against the express wish of the authors also violates scientific
 4   norms. For example, the ICJME guidelines state: “Information from manuscripts submitted but
 5   not accepted should be cited in the text as ‘unpublished observations’ with written permission from
 6   the source.” And, Dr. Weisenburger notes that publicizing draft manuscripts is not “ethical or
 7   correct or academically correct… [I]t’s not academic practice to make preliminary publications
 8   available for public use.” Weisenburger Dep. at 259:7-17. Even Dr. Rider acknowledged “the
 9   polite thing to do in the scientific community would be to ask the author if they’re okay with you
10   citing their work in their paper, given that it’s unpublished.” Rider Dep. 245:23-246:8. The Court
11   should exclude it from evidence and reject Monsanto’s attempt to create science.
12         It is particularly notable that Dr. Blair, a lead investigator of the AHS study and an author on
13   both AHS manuscripts agrees with Plaintiffs that glyphosate is a probable human carcinogen. Dr.
14   Blair testified that the AHS is not the most powerful study and there is a problem with lack of
15   follow-up in the AHS study. Blair Dep. at 69:21-70:4, 271:14-272:19, 286:1-9. Dr. Blair agreed
16   that the case-control studies showed statistically significant risks. Id. at 53:4-66:8. In assessing
17   glyphosate, Dr. Blair weighed the totality of evidence from the numerous positive case-control
18   studies and the negative AHS study and concluded that there was an association between
19
     107
20       Although Drs. Mucci and Rider had access to Dr. Blair’s deposition, they were unaware of
     Dr. Blair’s warning that the data was incomplete—a remarkable concession considering their
21   heavy reliance on the document. Rider Dep. at 135:8-12; Mucci Dep. at 170:1-10. The litigation-
     driven nature of Dr. Mucci and Dr. Rider’s use of this draft manuscript is highlighted by their
22   complete denial of its flaws. Dr. Mucci found that the “[o]ne minor weakness is that the updated
     analysis on glyphosate and other herbicides has not been published to date.” Mucci Rep. at 35.
23   Dr. Rider does not acknowledge any weaknesses to the draft manuscript. Ex. 116 – Expert
     Report of Dr. Jennifer Rider, at 28-29. Their lack of critical analysis of the draft manuscript is
24   fatal to their opinions considering its many flaws. Like the expert in In re Rezulin Prod. Liab.
     Litig., Drs. Rider and Mucci failed to investigate whether the draft manuscript was a preliminary
25   versus final analysis, relied upon it despite conflicting data in peer-reviewed literature, and used
     it solely for litigation purposes. 309 F. Supp. 2d 531, 562–63 (S.D.N.Y. 2004). Reliance on the
26   AHS draft manuscript should be excluded.
     108
         Allgood v. Gen. Motors Corp., No. 102CV1077DFHTAB, 2006 WL 2669337, at *8 (S.D.
27   Ind. Sept. 18, 2006) (excluding opinion based on draft EPA document); In re Trasylol Prod.
28   Liab. Litig.-MDL-1928, No. 1:08-MD-01928, 2010 WL 4053756, at *4 (S.D. Fla. May 17, 2010)
     (excluding opinion based on unpublished draft obtained in litigation).

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                Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 45 of 79




 1   glyphosate and NHL. Id. at 70:10-15, 365:7-25. After three hours and forty minutes of cross-
 2   examination, including questions about the unpublished manuscript, Monsanto was unable to
 3   change Dr. Blair’s opinion that glyphosate is a probable human carcinogen. Id. at 293:6-15.
 4
           F.     Case-Controlled Studies Were Properly Considered by Plaintiffs’ Experts: the
 5
                  Data Shows Risk
 6
                 1. The Methodologically Sound Approach for Using Statistics To Understand
 7               Epidemiological Point Estimates
 8
           It is methodologically sound to consider non-statistically-significant data, and arguably
 9
     ignoring such results would, itself, be improper. It is well-settled that “[a] lack of statistically
10
     significant data does not mean that medical experts have no reliable basis for inferring a causal
11
     link between a drug and adverse events. . . . courts frequently permit expert testimony on
12
     causation based on evidence other than statistical significance[.]” Matrixx Initiatives, Inc. v.
13
     Siracusano, 563 U.S. 27, 40, 41 (2011). And here, where there are numerous instances of
14
     statistically significant elevated ORs, and considering that nearly every other study shows an
15
     elevated risk, even if not statistically significant, it is appropriate: “For research studies that aim
16
     to measure associations, and infer whether they reflect causal connections, focusing on the
17
     magnitude of these associations ought to be the primary goal: estimation of effects is decidedly
18
     preferable to statistical testing.” Ex. 79.109 Yet Monsanto criticizes Plaintiffs’ experts for relying
19
     on case control studies that show an elevated OR for GBF exposure but fail to achieve statistical
20
     significance. MSJ at18. The notion that “statistical significance…[is] key to any epidemiological
21
     analysis”, MSJ at 10, ignores a key dictate of epidemiology and general causation: that the
22
23
24   109
         Rothman, K.J., Six Persistent Research Conceptions, 29 J. Gen. Intern. Med 7, 1060-64,
     1063(2014) (emphasis added). “Significance testing has led to far more misunderstanding and
25
     misinterpretation than clarity in interpreting study results.” Id.; see Ritz Dep. at 87:22-89:13.
26   Defendant takes Dr. Neugut’s testimony out of context; he stated in his deposition and report that
     statistical significance is not required. Neugut Dep. at 42:5-8, 323:7-9, 310:23-311:1 (“in modern
27   epidemiology, statistical significance isn't considered essential.”). Monsanto experts Drs. Rider
28   and Mucci also agree that statistical significance is not necessary. Rider Dep. 262:2-15; Mucci
     Dep. at 143:3-23.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 46 of 79




 1   accuracy of point estimates as parameters of association must be evaluated with the overall data
 2   in the context of the study design, the biases, the size of the study, the effect we are trying to
 3   estimate, [and] the effect size.” Ritz Dep. at 88:22-25; see Milward, 639 F.3d at 11 (an expert
 4   may rely upon a method according to which “each body of evidence [is] treated as grounds for
 5   the subsidiary conclusion that it would, if combined with other evidence, support a causal
 6   inference.”). Plaintiffs’ experts weighed the non-statistically significant data according to
 7   standard practices in epidemiology.
 8         Finally, NHL is not just a number, it is a disease that affects real people. Even though an
 9   risk might not reach the arbitrary statistical significance level, the study still matters to clinicians
10   treating patients and making decisions affecting their health. Ex. 80 – Deposition Transcript and
11   Exhibits of Dr. Chadi Nabhan, at 55:10-24.
12              2. Monsanto’s Concerns Regarding Confounding Are Not Supported by the
13              Data, Are Methodologically Unsound, and Are Precluded by Estoppel
14         As a threshold matter, Monsanto has either waived or should be estopped from asserting
15   that confounders are relevant at this stage. Plaintiffs sought discovery about the chemicals that
16   Monsanto considers confounders for NHL through Requests to Admit. Monsanto objected to the
17   requests as irrelevant to general causation. See Ex. 81 at 14 (responses to requests 34-102). Now,
18   after opposing discovery into the carcinogenicity of other herbicides, Monsanto argues the
19   carcinogenicity of other herbicides is not only relevant but is rather critical to the causation
20   analysis. Monsanto should be estopped from raising this defense.110
21
     110
        See, e.g., Hamilton v. State Farm Fire & Cas. Co., 270 F.3d 778, 783 (9th Cir. 2001) (judicial
22
     estoppel is a flexible inquiry that precludes a party from gaining an advantage by asserting one
23   position and then later, when expedient, a clearly inconsistent position); Wagner v. Prof.
     Engineers in California Govt., 354 F.3d 1036, 1044 (9th Cir. 2004) (estoppel applies “to a
24   party's stated position whether it is an expression of intention, a statement of fact, or a legal
     assertion”), or, alternatively, it should be deemed to have waived the argument for general
25
     causation. Monsanto’s strategy highlighting confounders to obfuscate inquiry has been used
26   before. The tobacco companies, for example, used “confounders” to deny a cancer risk. As the
     Reference Manual notes “[o]ften the mere possibility of uncontrolled confounding is used to call
27   into question the results of a study. This was certainly the strategy of those seeking, or
28   unwittingly helping, to undermine the implications of the studies persuasively linking cigarette
     smoking to lung cancer.” Reference Manual at 593 (emphasis added).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 47 of 79




 1         Further, Monsanto’s analysis glosses over the distinction between an actual and a potential
 2   confounder. For any adjustment to be meaningful, one has to demonstrate that “[the other
 3   pesticides] are actually related to glyphosate use and also are independent risk factor for
 4   NHL…[c]onfounding is an independent risk factor for the outcome that also has an association
 5   with the exposure and is not an intermediate in the pathway to disease.” Ritz Dep. at 285:10-22,
 6   143:3-7; Reference Manual (2nd E.D.) at 389 (“confounding factor…a factor that is both a risk
 7   factor for the disease and a factor associated with the exposure of interest.”). Monsanto is
 8   adamant that exposure to every pesticide is an automatic confounder without providing evidence
 9   of how any specific pesticide causes or potentiates NHL. See, e.g., Deutsch v. Novartis Pharm.
10   Corp., 768 F. Supp. 2d 420, 432 (E.D.N.Y. 2011) (“[F]ailure to control for an unknown
11   confounding factor does not necessarily render the results unreliable. . . .) “Often the mere
12   possibility of uncontrolled confounding is used to call into question the results of a study. This
13   was certainly the strategy of those seeking, or unwittingly helping, to undermine the
14   implications of the studies persuasively linking cigarette smoking to lung cancer.” Reference
15   Manual at 593 (emphasis added). The Court should reject Monsanto’s effort to use the tobacco
16   company strategy here to divert attention from methodologically sound epidemiological studies.
17         Finally, it is worth mentioning that the McDuffie, Hardell, De Roos (2003), and Eriksson
18   studies considered multiple pesticides; however, the only consistent positive association with
19   NHL occurred with exposure to glyphosate. In addition, the De Roos (2003) authors, after
20   adjusting for a large number of other pesticides, concluded that “[a]djustment for multiple
21   pesticides suggested that there were few instances of substantial confounding of pesticide effects
22   by other pesticides.” De Roos, at 7; see also Rider Dep. at 89:18-21 (agreeing that the authors
23   did not find much confounding by other pesticides); Blair Dep. 88:20-22 (agreeing that
24   confounding is a problem that rarely occurs.). The meta-analyses include four out of six studies
25   that adjust for pesticides and it still shows a significant increased risk.
26              3. Plaintiffs’ Experts Considered Bias
27
28

                                                       40
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 48 of 79




 1         Monsanto accuses Plaintiffs’ experts of “fail[ing] to account for recall bias, which
 2   artificially increases the odds ratios in case-control studies where, as would be expected, people
 3   who have cancer recall more exposures than people who do not have cancer and have not been
 4   thinking about their prior exposures.” MSJ at 18. Initially, it is not always the case that recall
 5   bias inflates odds ratios. “If the subject has no way to know which pesticide might have caused a
 6   cancer . . . and is asked to report all chemicals they have ever used occupationally, it is unlikely
 7   that they would only recall one and not another chemical differentially.” Ritz Rep. at 7.111 The
 8   direction of an odds ratio potentially affected by bias—either towards or away from the null—
 9   depends upon whether a case recalls more or less exposure than what actually occurred
10   compared to a control subject. Blair Dep. at 95:14-22.112 Moreover, the data speaks for itself. De
11   Roos (2003), which adjusted for exposure to more than forty (40) pesticides and still found a
12   statistically significant elevated risk, noted the “fact that there were few associations suggests
13   that the positive results we observed are not likely to be due to a systematic recall bias for
14   pesticide exposures, or selection bias for the subgroup included in the analyses of multiple
15   pesticides.” Ex. 55 at 8 (emphasis added).
16         In fact, Plaintiffs’ experts accounted for bias in reaching their opinions but Monsanto
17   misinterprets the data. For example, Monsanto argues that Eriksson (2008) suffers from
18   systematic bias because, according to Monsanto, the study reported elevated odds ratios for all
19   evaluated pesticides. MSJ at 16.113 However, such an interpretation of bias, as Dr. Ritz indicated,
20
21   111
         Moreover, “[e]ven the best designed and conducted studies have biases, which may be
     subtle…” Reference Manual at 573.
22   112
         See also Ex. 82. Vrijheid, M., et al., The Effects of Recall Errors and of Selection Bias in
23   Epidemiologic Studies of Mobile Phone Use and Cancer Risk, 16 J. of Exposure Sci. & Environ.
     Epid. 4, 371-384, 372 (2006) (“Differential recall errors in cases and controls may also lead to
24   bias, the direction of which depends on the direction of the differences between cases and
     controls.”).
25   113
         Monsanto selectively uses Dr. Neugut’s testimony on systemic bias. Dr. Neugut testified that
26   the increased risk of NHL with glyphosate in Eriksson (2008) is a “pretty high risk” and higher
     than “I might expect purely from biases alone.” Neugut Dep. at 288:11-22. Dr. Neugut also
27   states that “it is expected that any residual confounding [in Eriksson] would result in an
28   underestimation of the effect of a single pesticide. Given that the results demonstrated increased
     risk suggests there being a causal relationship despite confounding.” Neugut Rep. at 16.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 49 of 79




 1   is simplistic and an inaccurate way of analyzing the data.114 More importantly, the potential
 2   presence of bias does not outweigh the significance of the positive associations across studies for
 3   the purposes of general causation. See In re Actos (Pioglitazone) Prod. Liab. Litig., No. 12-CV-
 4   00064, 2014 WL 60324, at *18 (W.D. La. Jan. 7, 2014) (rejecting the defendants’ motion to
 5   exclude plaintiffs’ expert for relying on an IARC classification that did not rule out bias and
 6   confounding and holding that IARC’s “limited” language in the context of a 2A determination
 7   nevertheless contained “statements, opinions, conclusions, and caveats that are definite.”). In
 8   sum, Plaintiffs’ experts accounted for bias and remain confident in the causal association
 9   between GBF and NHL when considering the totality of the available data.115
10
     VI. Monsanto’s Attempt to Inject Issues Related to Dose and Absorption Is Based on a
11       Misunderstanding and Misrepresentation of the Data

12
            As a preliminary matter, dose is not a proper inquiry at the general causation stage for
13
     chemicals, including pesticides. See In re Hanford Nuclear Reservation Litig., 292 F.3d 1124,
14
     1139 (9th Cir. 2002). The limited circumstance in which dose might apply a role in a general
15
     causation inquiry is in the context of a pharmaceutical product in which plaintiff alleges injuries
16
     at a particular dose for which clinical trials and meta-analysis of clinical trials, which of course
17
     do not exist for chemicals, show no association between product at that dose and alleged disease.
18
     See, e.g., In re Bextra, 524 F. Supp. 2d at 1175-76, 1180-81 (at general causation stage, court
19
     excluded expert testimony of causation for plaintiffs who alleged that taking 200 milligrams a
20
     day of Celebrex caused their disease because none of plaintiffs’ experts challenged clinical trial
21
     findings of no association at that dosage). Nevertheless, Monsanto argues that Plaintiffs’ experts
22
23
     114
          [I]n this study… a lot of odds ratios… around or even below 1 [are] reported, and many of
24   the odds ratios are duplicate analyses in terms of a dose response….and in many cases you can
     see that the specificity increases.” Ritz Dep. at 311:9-23. Contrary to Monsanto’s contention that
25
     all of the odds ratios in Eriksson (2008) were above 1, the confidence intervals for exposure to
26   other pesticides included 1 for “very small subgroups with very low exposures. So essentially a
     lot of these estimates are non-informative.” Ritz Dep. at 312:13-19 (emphasis added).
27   115
         See, e.g., Weisenburger Dep. at 69:25-70:6, 72:2 (“I think that the epidemiologic studies are
28   well-constructed, they're well-done and they took every precaution to, as best they can, eliminate
     bias… no one would just look at one piece of the information to come to a conclusion.”).

                                                       42
              Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 50 of 79




 1   should be struck because they fail to consider human exposure. Its argument “ignores the fact
 2   that cancer epidemiology, [is] based on real world exposures associated with cancer risks in
 3   humans.” Ex. 83.116 Moreover, Monsanto’s own scientists do not understand GBFs’ bio-
 4   availability including its absorption by the human system and subsequent excretion. Ex. 84.117
 5   Monsanto’s ignorance is compounded by its refusal to study the issue, electing instead to ignore
 6   significant results and terminate absorption studies that do not comport with product objectives.
 7   For example, two Monsanto-sponsored in-vivo dermal absorption studies in the 1980s observed
 8   that significant amounts of dermally-applied glyphosate were not recovered in excretions or
 9   otherwise accounted for. Ex. 85118 Such results disprove Monsanto’s assertion that “very little of
10   the chemical is absorbed and circulated in the system.” MSJ at 5. When Monsanto employee,
11   Richard Garnett, and his colleagues urged others at Monsanto to further explore the issues
12   arising from dermal absorption of glyphosate, their suggestions were rejected due to fears that
13   further research “would be too risky (potential for finding another mammalian metabolite).” Ex.
14   87.119
15            Monsanto also relies on the EPA OPP’s conclusion that “‘glyphosate’s oral, inhalation,
16   and dermal exposure profile ‘suggests that there is low potential for a sustainable biological dose
17   following glyphosate exposure.’” MSJ at 8 (quoting EPA OPP). However, this analysis ignores
18
19   116
         Briefing for Governing Council Members on IARC evaluation of glyphosate.
     117
20       The science of human exposure is referred to as Absorption, Distribution, Metabolism and
     Excretion (“ADME”). Monsanto’s own Richard Garnett explained that “ADME has always been
21   the weak link in our argument... we have not got rid of the problem.”, Sept. 23, 2009 email
     between Richard Garnett, Gustin Christophe, and David Saltmiras, at *1 (MONGLY06385823).
22   118
         H.I. Maibach, Study No. MA-81-349, at *3, 11 (MONGLY02142251). (“Swabbing the
23   application site with water and acetone after 24 hours removed 14.2% of the applied dose.” The
     authors did not examine feces to determine the fate of the unaccounted 84% of the applied dose,
24   but instead conjectured that “[a]lthough a definitive explanation can not be offered for the low
     recovery, previous experience suggests that much of the test material may in some way bind to
25
     or in the skin and can not be removed by washing.”); see also Ex. 86, R.C. Wester et al.,
26   Glyphosate Skin Binding Absorption, Residual Tissue Distribution and Skin Decontamination, 16
     Fundamental and Application Toxicology 725, at 728-730 (MONGLY02431080) (only 2.2% of
27   the more concentrated – undiluted – dose was recovered in urine, , and approximately 23% of
28   the dose was unaccounted for).
     119
         Nov. 12, 2008 email from Christophe Gustin regarding Wester study (MONGLY02155826).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 51 of 79




 1   that everyday users of Roundup are never exposed to just glyphosate but the cocktail of other
 2   ingredients in the formulated product, such as surfactants.120 Indeed, Monsanto’s internal studies
 3   have observed that “[s]urfactants are able to increase glyphosate absorption through the skin,”
 4   but Monsanto has failed to report the results to the EPA. Ex. 88121; Ex. 90.122 This is a vital
 5   distinction because, in the real world, i.e., in the context of epidemiological studies, people apply
 6   Roundup, not just glyphosate; thus, absorption is, at least according to the unreported Monsanto
 7   study, nearly 10 times greater. Id.
 8          Additionally, the “Family Farm Exposure” study Monsanto relies on involved the use of
 9   “doctored” data, as noted by Monsanto’s consultant Dr. Acquavella, an on-site investigator for
10   the study, rendering the results unreliable. Ex. 91.123 Compounding the data’s unreliability,
11   glyphosate is not primarily excreted through urine. Richard Garnett, in a 2008 email, states that
12   for pesticide applicators, “[t]he little data we have suggests that the excretion is significantly
13   more through the faeces than the urine.” Ex. 87.124
14          Further, Monsanto’s assertion that “[p]laintiffs’ allegations are based only on dermal
15   exposure” is untrue and predicated upon comments taken out of context. MSJ at 5. In fact, during
16
     120
17       The Roundup formulation includes adjuvants and surfactants, such as Polyethoxylated tallow
     amine (POEA), which was banned in the European Union in 2016. See Sarantis Michalopoulos,
18   EU agrees ban on glyphosate co-formulant, EURACTIV, July 11, 2016,
     https://www.euractiv.com/section/agriculture-food/news/eu-agrees-ban-on-glyphosate-co-
19   formulant/.
     121
20       Ex. 88, MONGLY00888353, TNO Report 4478; Ex. 89, July 2001 memo re: Clustering
     glyphosate formulations with regard to the testing for dermal uptake. MONGLY01839476.
21   122
         Apr. 5, 2002 email from Richard Garnett re TNO Dermal Penetration Studies at *1-3
     (MONGLY03737014) (“in vitro dermal penetration of glyphosate [with surfactant] through rat
22
     skin is between 5 and 10%,” but was lower than 1.5% “in the absence of surfactants.”); TNO
23   Nutrition and Food Research Study Report for results of increased penetration with the addition
     of surfactants. Ex. 88. Monsanto subsequently stopped the program testing formulations given
24   the increased rate of absorption associated with surfactants and because the results did not aid
     Monsanto’s “regulatory angle.” Ex. 90
25   123
         July 5 2000 Memo re Site Visit to Minnesota field site, at *7-8 (MONGLY07080361). Dr.
26   Acquavella recorded other issues with the study: “Many of the urines were very spotty and we
     found one day's urine that was obviously doctored…the field team is not reviewing the urines
27   carefully and there is little, if any, coaching of the farm families . . . . There were some obvious
28   errors or missing entries in the questionnaires.”). Id. (emphasis added).
     124
         Nov. 10, 2008 email from Richard Garnett (MONGLY02155826).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 52 of 79




 1   the February 24, 2017 court hearing, in response to the Court’s inquiry about Plaintiffs’
 2   justification for taking the deposition of Richard Garnett, Plaintiffs’ counsel explained that the
 3   request, in part, was based on statements Garnett had made in emails regarding dermal exposure
 4   to glyphosate,125 which is only one of several exposure pathways alleged by Plaintiffs. Ex. 92 at
 5   9-12.126 At no time did Plaintiffs represent an intention to limit their theory of the case to dermal
 6   exposure. Monsanto’s attempt to take this quote out of context is disingenuous.
 7         Additionally, the EPA reference dose of 2 mg/kg/day has nothing to do with
 8   carcinogenicity but rather is based on a developmental endpoint in a rabbit study. As Monsanto
 9   noted, “For 12 years, US EPA has based its 2 mg/kg/day US ADI on a conclusion that the 175
10   mg/kg/day represents both a maternal and developmental NOAEL in this study.” Ex. 93.127 The
11
     2 mg/kg/day number is wrong. As Monsanto’s Steven Wratten acknowledged, an ADI of 2
12
     mg/kg/day is too high but Monsanto must support it because “[t]he US is the biggest glyphosate
13
     market in the world, and all 3 companies involved enjoy sales that are supported by this
14
     position.” Id. In any event, Defendant’s expert, Dr. Foster, concedes that pesticide applicators
15
     can be exposed to a systematic dose greater than 2 mg/kg/day. See Foster Rep. at 3.
16
     VII. The Toxicology Data is Reliable and Relevant.
17
           Toxicology supports Plaintiffs’ experts’ opinions that glyphosate and GBFs cause cancer in
18   humans. “[E]pidemiological findings of an adverse effect in humans represent a failure of
19   toxicology as a preventive science or of regulatory authorities or other responsible parties in
20   controlling exposure to a hazardous chemical or physical agent. ... The two disciplines
21   complement each other, particularly when the approaches are iterative.” Reference Manual at
22
23
     125
         Mr. Garnett’s comments regarding dermal exposure made his testimony pertinent to
24   Monsanto’s defense that “exposure…will not reach a high enough level to cause cancer…” Ex.
     92. Hearing Transcript, February 24, 2017, at 11.
25   126
         Hearing Transcript, February 24, 2017, at 9-12. In addition, at least three complaints allege
26   exposure pathways “as air (especially during spraying), water, and food. Community exposure to
     glyphosate is widespread and found in soil, air, surface water, and groundwater, as well as in
27   food.” See McCall v. Monsanto, 2:16-cv-01609 (C.D. Cal.) ¶ 50; Means v. Monsanto, 5:16-cv-
28   112 (W.D. Ky.) ¶ 64; Morris v. Monsanto, 16-cv-61992 (S.D. Fla) ¶ 64.
     127
         June 13, 2003 email from Stephen J. Wratten, at 3 (MONGLY00896493).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 53 of 79




 1   660. Here, the animal studies show an increased risk of multiple tumors in multiple species,
 2   including replicated findings of malignant lymphomas in mice. These findings strongly support
 3   causation in conjunction with the findings of NHL in human epidemiological studies and the
 4   findings of genotoxicity in human lymphocytes.
 5         Monsanto argues that, because of the existence of human epidemiology, Plaintiffs’ experts’
 6   review of animal carcinogenicity data in reaching their causation opinion is improper. Its
 7   position contradicts established law and common sense. See U.S. v. W.R. Grace, 504 F.3d 745,
 8   765 (9th Cir. 2007) (“[T]he expert's opinion testimony must satisfy the requirements of Rule
 9   702—but that requires consideration of the overall sufficiency of the underlying facts and data,
10   and the reliability of the methods, as well as the fit of the methods to the facts of the case.”)
11   (emphasis original); Metabolife Int'l, Inc. v. Wornick, 264 F.3d 832, 842 (9th Cir. 2001) (“The
12   district court erred in rejecting the animal studies proffered by Metabolife merely because of the
13   species gap.”).128
14
            A.      Highly Qualified Experts Reviewed the Animal Data
15
            Plaintiffs asked two highly qualified experts, Dr. Christopher Portier and Dr. Charles
16
     Jameson, to further evaluate glyphosate data, including the chronic toxicity animal bioassays.129
17
     Both of these experts opinions on GBFs were formed and peer reviewed prior to this litigation.
18
     Dr. Portier’s resume includes 30-plus years leading federal agencies overseeing various fields of
19   toxicology, of developing, conducting, and analyzing long-term rodent bioassays designed to
20   screen for toxicity and carcinogenicity, as well as developing and applying statistical models
21
22
     128
23       Monsanto “quotes” to Chapman v. Proctor & Gamble Distrib., LLC, 766 F.3d 1296, 1308
     (11th Cir. 2014), as support for its argument that Drs. Portier’s and Jameson’s expert opinions
24   are improper is not only a misleading selection from a much longer sentence, but the issue
     presented in Chapman included the fact that the plaintiffs there, on the whole, failed to submit
25
     requisite epidemiological or clinical reports. That is not the case for either Drs. Portier or
26   Jameson. See Ex. 94 – Revised Expert Report of Dr. Christopher Portier at 6-17; Jameson Rep.
     12-19.
27   129
         Dr. Portier served as an invited specialist of Monograph 112, which reviewed glyphosate. Ex.
28   95 – Deposition Transcript and Exhibits of Dr. Christopher Portier, at 36:4-11. Dr. Jameson also
     participated in Monograph 112, and was the chair of the animal carcinogenicity subgroup.

                                                       46
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 54 of 79




 1   known to withstand peer review that are used by toxicologists globally. Dr. Jameson’s expertise
 2   is derived from nearly 30 years with the NTP and NIEHS, where he offered scientific and
 3   technical expertise in the gathering and evaluating and carcinogenicity data. As Judge Kozinski
 4   stated in Daubert II, “[t]hat an expert testifies based on research he has conducted independent of
 5   the litigation provides important, objective proof that the research comports with the dictates of
 6   good science.” 43 F.3d at 1317. Dr. Portier’s expert opinion and testimony are the product of his
 7   independent review of the literature, technical reports, study data, and regulatory documents.
 8   Prior to his retention in this litigation, Dr. Jameson served on the IARC 112 working group as
 9   the subgroup chair that evaluated the publicly available animal carcinogenicity data for
10   glyphosate, finding sufficient evidence of carcinogenicity in animals. That neither Dr. Jameson
11   nor Dr. Portier’s opinion was developed for this litigation, “provides important, objective proof
12   that the research comports with the dictates of good science.” Murray v. S. Route Mar., 870 F.3d
13   915, 923 (9th Cir. 2017).
14          After the review of even more data subsequent to their work at IARC, both experts came
15   to the conclusions that glyphosate was carcinogenic in rodents. Dr. Portier states:
             Glyphosate has been demonstrated to cause cancer in two strains of rats and one strain of
16
             mice. Glyphosate causes hepatocellular adenomas in male Wistar rats and male Sprague-
17           Dawley rats, mammary gland adenomas and adenocarcinomas in female Wistar rats and
             kidney adenomas in male Sprague-Dawley rats. Glyphosate causes hemangiosarcomas,
18           kidney tumors and malignant lymphomas in male CD-1 mice and hemangiosarcomas in
             female CD-1 mice and possibly causes malignant lymphomas in male Swiss albino mice.
19
             Thus, glyphosate causes cancer in mammals.
20
     Portier Rep. at 51. And he confirms in his rebuttal to Defendants’ expert reports, that
21
            It is still my opinion that glyphosate probably causes NHL based on the human, animal and
22          experimental evidence and that, to a reasonable decree of scientific certainty, the probability
            that glyphosate causes NHL is high.
23
24   Ex. 96 – Rebuttal Expert Report of Dr. Christopher Portier at 24. Dr. Jameson states:

25          I determined that in CD-1 mice, glyphosate exposure causes kidney tumors in males in
            two separate studies, hemangiosarcomas in males in two separate studies, malignant
26          lymphoma in males in two separate studies, adenocarcinomas of the lung in males in one
27          study, and hemangiosarcomas in females in one study. In one study in Swiss albino mice,
            exposure to glyphosate causes malignant lymphoma in males and females and kidney
28          tumors in males [and] that in Sprage-Dawley rats, glyphosate exposure causes pancreatic

                                                      47
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 55 of 79




            cell tumors in males in one study, interstitial cell tumors in the testes in males in one
 1
            study, hepatocellular adenomas in males in two studies and thyroid follicular cell tumors
 2          in females in one study.

 3   Jameson Rep. at 29. (emphasis added).
 4
            These opinions are consistent with the opinions of some members of the SAP panel who
 5
     found that “there are sufficient data to conclude glyphosate is a rodent carcinogen using the
 6
     approaches recommended to interpret the biological significance of tumor responses in EPA’s
 7
     2005 Guidelines for Carcinogen Risk Assessment.” SAP Final Report at 18. Accordingly,
 8
     Plaintiffs’ expert opinions enjoy acceptance within the relevant scientific field.
 9
            B.      The Animal Bioassays Demonstrate that it is Biologically Plausible that
10                  Roundup Causes Cancer in Humans
11
            Drs. Portier and Jameson also explain why cancer findings in animals are relevant to
12
     humans. The appropriate first step in answering whether a chemical can cause cancer is to test
13
     the chemical on rodents; 130 as it is unethical to perform human experimentation for chemicals.
14
     Rodent studies are the only available method to test the carcinogenicity of a chemical in a
15
     clinically controlled manner. Thus, data from animal studies are an important piece of the overall
16
     weight of the evidence to be considered in understanding carcinogenicity in humans.131 This
17
     clinically controlled model adds strength to the conclusion that the increased risk of NHL in
18
     epidemiological studies is not the result of confounding. See Reference Manual at 640.
19
            Dr. Portier states that “animal carcinogenicity studies . . . play a role in establishing
20
     biological plausibility” as part of the Bradford-Hill criteria. Portier Rep. at 5. “[T]he toxic
21
     responses in laboratory animals are useful predictors of toxic responses in humans.”132
22
23
24   130
         See generally US EPA Guidelines for Carcinogenicity Risk Assessment (2005).
     http://epa.gov/iris/cancero32505.pdf.
25   131
         Monsanto tries to re-frame the central question by isolating the animal studies and asking the
26   court to determine whether the animal bioassays, standing alone, can support reliable expert
     testimony that GBF exposure causes NHL in humans. However, the Court need not answer that
27   question because, here, the animal studies are not standing alone and Plaintiffs are not offering
28   them to prove stand-alone causation.
     132
         REFERENCE MANUAL ON SCIENTIFIC EVIDENCE (THIRD) 636-37 (2011).

                                                       48
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 56 of 79




 1   Monsanto’s expert agrees that animal tumors are predictive of human carcinogenicity,
 2   highlighting the general acceptance of using animal bioassays as a predictive tool for human
 3   carcinogenicity. Ex. 97 – Deposition Transcript and Exhibits of Dr. Thomas Rosol, at 170:17-22
 4   (“compound-mediated effects constitute ‘one step’ towards inferring causation”).
 5          Animal carcinogenicity studies are performed at multiple doses, including high doses.
 6   This design is borne out of necessity: the number of animals in each treatment group in a rodent
 7   carcinogenicity study is limited; regulatory agencies typically set it at 50. Id. “Doses generally
 8   above human experience are used in animal carcinogenicity studies because only relatively small
 9   numbers of animals are being used to evaluate risk for a large human population [and] [b]y
10   exposing animals to the highest dose possible, you increase the ability of the study to identify a
11   risk if one is present.” Portier Rev. Rep. at 20. 133 Thus, doses used in animal carcinogenicity
12   studies are set sufficiently high to observe likely effects caused by the chemical.
13          Moreover, with animal carcinogenicity studies, “it matters little what the eventual cancer
14   target site may be; the important observation is whether a chemical does or does not cause
15   cancer.”134 Ex. 99. As Dr. Jameson explained, glyphosate animal studies were, “designed to see
16   if glyphosate would cause cancer in the experimental animals.” Jameson Dep. 291:23-24; see
17   also id., 28:10-115 (“[an animal bioassay is] not -- not looking to investigate does it form a
18   specific kind of tumor that is the same as found in humans.”). Thus, the ultimate significance of
19   these bioassays is that they reveal that, “glyphosate causes cancer in mammals,” and thus
20   support the conclusion that glyphosate can cause cancer in humans.135 Portier Rep. at 52
21
     133
         See also Ex. 98 – Deposition Transcript and Exhibits of Dr. Charles Jameson, at 216:9-
22
     217:15; REFERENCE MANUAL ON SCIENTIFIC EVIDENCE (THIRD) 645 (2011) (“proffered
23   toxicological expert opinion on potentially cancer-causing chemicals almost always is based on a
     review of research studies that extrapolate from animal experiments involving doses significantly
24   higher than that to which humans are exposed. Such extrapolation is accepted in the regulatory
     arena.”) (emphasis added).
25   134
         R. Maronpot, et al. Relevance of animal carcinogenesis findings to human cancer predictions
26   and prevention 32 TOXICOL PATHOL 40-8 at 41-2 (2004) (emphasis added).
     135
         Monsanto mischaracterizes Dr. Portier’s testimony that “rodent models ‘are not developed for
27   the purpose of identifying tumors that arise in humans from exposure to chemicals,’” MSJ at 22-
28   23 (quoting Portier Dep. 163:7-23), yet fails to inform the Court that Dr. Portier’s statement was
     in response to a question by Monsanto’s counsel relating to a transgenic mouse model developed

                                                      49
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 57 of 79




 1   (emphasis added).
 2          Monsanto’s challenge to Plaintiffs’ experts’ reliance on animal carcinogenicity bioassays,
 3   merely because they show animal tumors other than lymphoma, is not only meritless, but also
 4   factually wrong: Drs. Portier and Jameson report that a significant increase in malignant
 5   lymphoma was seen in three mouse studies. Portier Rev. Rep. at 40-44; Jameson Rep. at 23-24.
 6   Peer-reviewed, scientific literature consistently accepts that B-cell lymphomas found in mice
 7   exhibit similar pathological features to those in humans, such that they “exhibit enough parallels
 8   to suggest they represent the same disease but in a different species.”136 The publications support
 9   the coherence criteria of Bradford-Hill because of “the increased risk of malignant lymphomas in
10   CD-1 mice, the marginal increase in these tumors in Swiss mice and the strong similarity
11   between malignant lymphomas in mice and NHL in humans.137” Portier Rep. at 74, 97.
12          Drs. Portier’s and Jameson’s opinions meet Daubert’s “fit” requirement. The fit
13   requirement addresses the relevance of expert testimony:138 To satisfy the Daubert’s “fit”
14   requirement, a court must determine that the testimony is, “‘relevant to the task at hand,’ [and]
15   that it logically advances a material aspect of the proposing party's case.” Daubert II, 43 F.3d at
16   1315 (quoting Daubert, 509 U.S. at 591) (emphasis added). Here, the cancers (including
17   lymphoma) seen in the animal bioassays make enhances causation.139 The animal
18   carcinogenicity data is relevant, admissible evidence considered by Plaintiffs’ experts in
19
20   for testing potential NHL therapies.
     136
         Ex. 100. D. Begley, et al., Finding mouse models of Human Lymphomas and Leukemia’s
21   using the Jackson Laboratory Mouse Tumor Biology Database, 99 EXPERIMENTAL AND
     TOXICOLOGIC PATHOLOGY 533-536, 534 (2015); Ex. 101. J. Ward, Lymphomas and Leukemias in
22
     Mice, 57 EXPERIMENTAL AND TOXICOLOGIC PATHOLOGY 377-381 (2006).
     137
23       Dr. Portier further found that there was an increase in splenic lymphosarcomas in female mice
     in Knezevich and Hogan which is also highly relevant to human causation because
24   lymphosarcomas are a type of lymphoma. Portier Reb. Rep. at 7.
     138
         In adopting the fit requirement in Daubert, the Supreme Court explained that, “[e]xpert
25
     testimony which does not relate to any issue in the case is not relevant and, ergo, non-helpful. . . .
26   The consideration has been aptly described . . . as one of ‘fit.’” 509 U.S. at 591 (internal
     quotations and citations omitted).
27   139
         In contrast, Monsanto’s reliance on Joiner, MSJ at 24 is unavailing. In Joiner, the district
28   court rejected plaintiffs’ experts’ reliance on animal bioassays because “[n]o study demonstrated
     that adult mice developed cancer after being exposed to PCB’s.” 522 U.S. at 144.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 58 of 79




 1   determining biological plausibility; it adds to the “accumulation of multiple scientifically
 2   acceptable inferences from different bodies of evidence.” Milward, 639 F.3d at 25.
 3
            C.      Dr. Portier’s Methodology Materially Advances Relevant Science and Is
 4
                    Admissible.
 5          Dr. Portier follows sound, well accepted statistical methodology in reaching his opinions.
 6   In addition to conducting a review of each of the individual studies, Dr. Portier further conducted
 7   a pooling of the data to compare studies. In fact, members of the SAP’s peer review of the OPP’s
 8   position paper on glyphosate approved of Dr. Portier’s pooling methodology, noting that it
 9   provided “compelling statistical evidence” of animal carcinogenicity.140 These members went
10   further and recommended that the EPA adopt Dr. Portier’s “pooled analysis approach for
11   combining multiple studies.” Ex. 10 at 59.
12          Dr. Portier’s past involvement with glyphosate informs his approach to analyzing
13   glyphosate’s carcinogenicity.141 As part of an EPA submission, Dr. Portier conducted a standard
14   statistical analysis using glyphosate animal carcinogenicity data in late 2016 using the Cochran-
15   Armitage trend test and poly3 trend test.142 EPA recommends the Cochran-Armitage trend test in
16   its 2005 Carcinogen Risk Assessment Guidelines, and a significant finding using this test is
17
18
19   140
         Ex. 10 at 3, 59 (The Panel serves as the primary scientific peer review mechanism of the
20   Environmental Protection Agency (EPA), Office of Pesticide Programs (OPP)).
     141
         Monsanto tries to exclude Dr. Portier’s based on alleged improper motives and biases. Not
21   only are those arguments factually wrong, but they are inappropriate for a Daubert analysis and
     should be left to cross examination at trial. United States v. Abonce-Barrera, 257 F3d 959, 956
22
     (9th Cir. 2001) (“Generally, evidence of bias goes toward the credibility of a witness, not his
23   competency to testify, and credibility is an issue for the jury.”). One of the bases for this alleged
     bias is Dr. Portier’s part-time work with the Environmental Defense Fund (EDF). Yet Monsanto
24   is currently partnering with the EDF which in its brief it coins as “an environmental activist
     group opposed to the use of pesticides.” MSJ at 3. See A Coalition of uncommon bedfellow is
25
     bringing sustainable agriculture to scale (partnership between, inter alia, EDF and Monsanto
26   Company), available at http://blogs.edf.org/growingreturns/2016/08/31/a-coalition-of-
     uncommon-bedfellows-is-bringing-sustainable-agriculture-to-scale/; Portier Dep. Ex. 15-44.
27   142
         See footnote [ ] supra. See also Portier Rep. at Appendix, Document Two; see also
28   Document Three (Tables 1-9). Further, Document 3 is the same set of data tables submitted by
     Dr. Portier to German Regulators in response to the CLH Report for Glyphosate.

                                                      51
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 59 of 79




 1   “sufficient to reject the hypothesis that chance accounts for the result.”143 Following that EPA
 2   submission, Dr. Robert Tarone, an undisclosed consultant for Monsanto,144 called for evaluation
 3   of the animal carcinogenicity data using the exact trend test.145 In response, Dr. Portier defended
 4   the use of the two previous tests, but acknowledged that evaluation could also be conducted
 5   using the exact trend test, which he subsequently performed.146 However, as Dr. Portier
 6   explains, analysis of rare cancers such as renal tumors using the exact test alone would yield
 7   inaccurate results if relying solely on p-value:
 8
 9          For renal tumors, all of the individual studies for which the p-value was less than
            0.05 for the approximate test have p-values greater than 0.05 and less than 0.065
10          for the exact test. Thus, we go from 3 significant studies to 3 marginal studies.
            However, there are a few important issues to consider on these numbers. The study
11          by Sugimoto (1997) is the most extreme outcome possible and it is not possible
12          with only 2 tumors to get a p-value smaller than the 0.059 value with the exact test.
            Similar statements hold true for the 1983 study and the 2001 study. The point is
13          that for rare tumors, the exact test has a limited ability to identify a positive finding
            even though it uses the exact p-value. Thus, doing a direct evaluation against the
14
            historical controls is warranted. The historical control test shows statistical
15          significance identical for all of the tests to those in my previous comments.
            Especially clear is the findings from analyzing all of the data simultaneously.147
16
17   This is not “p-hacking” or data dredging, see MSJ at 25-26. Dr. Portier followed EPA guidelines

18   which also support the use of historical controls for rare tumors to show that “the result is in fact

19   unlikely to be due to chance” even in the absence of statistical significance.148

20          Monsanto nevertheless seeks to strike Dr. Portier’s opinions because he does not use the

21   same statistical approach as its experts. Ironically, Monsanto’s own experts do not employ the

22   identical statistical approaches when analyzing the same data set: Dr. Corcoran, Monsanto’s

23
24   143
         Available at: https://www.epa.gov/sites/production/files/2013-
     09/documents/cancer_guidelines_final_3-25-05.pdf, at 2-19.
25   144
         https://governance.iarc.fr/ENG/Docs/IARC_responds_to_Reuters_15_June_2017.pdf.
     145
26       Portier Rep. at Appendix, Document Six.
     146
         Portier Rep. at Appendix, Document Seven (emphasis added).
27   147
         Portier Rep. at Appendix, Document Seven at 2.
     148
28       Available at: https://www.epa.gov/sites/production/files/2013-
     09/documents/cancer_guidelines_final_3-25-05.pdf, at 2-20, 2-21.

                                                        52
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 60 of 79




 1   statistician, recommended use of the logistic regression approach,149 while Dr. Foster,
 2   Monsanto’s toxicologist, referenced pairwise comparisons via Fisher’s exact test.150 Because are
 3   multiple statistical approaches to analyzing data,151 the appropriate inquiry is not whether there is
 4   one correct method but rather whether Dr. Portier’s methodology is reliable. See Daubert II, 43
 5   F.3d at 1318. The answer is yes.152
 6          Dr. Portier’s opinions strengthened after acquiring new data. In spring 2017, Plaintiffs
 7   formally asked Dr. Portier to author an expert report in this litigation. As part of that work, Dr.
 8   Portier, for the first time, gained access to Monsanto’s internal confidential documents, such as
 9   unpublished animal data from some of the long-term rodent bioassays and internal memorandum
10   discussing study results. The analysis and revised results were not “made-for-litigation
11   supposition,” MSJ at 26. Rather, Dr. Portier’s opinions are the predictable outcome of having a
12   more complete data set. Dr. Portier cannot be criticized for failing to consider data he could not
13   have accessed before this litigation.
14          Dr. Portier’s approach is not without precedent. In addition to the endorsement by the
15   SAP, Dr. Portier’s methodology in pooling the data was subjected to the peer review process and
16   published in the scientific literature. An approach similar to Dr. Portier’s was used to evaluate
17   the carcinogenicity of 1,4-dioxane.153, 154 In response to ongoing debate about 1,4-dioxane’s
18   carcinogenicity, Dr. Michael Dourson, performed a pooled analysis of the data and concluded
19
20
     149
         See generally, Ex. 102 – Expert Report of Dr. Christopher Corcoran.
21   150
         See generally, Foster Report
     151
         For example, EPA uses both trend tests and pairwise comparisons to determine whether a
22
     treatment-related effect is present. In Monograph 112, IARC used both the Cochran-Armitage
23   trend test and the Fisher exact test to evaluate the animal carcinogenicity data on glyphosate.
     EFSA uses the pairwise comparison and trend tests.
24   152
         The EPA recognizes both the trend and pairwise tests as appropriate statistical measures.
     Available at: https://www.epa.gov/sites/production/files/2013-
25
     09/documents/cancer_guidelines_final_3-25-05.pdf, at 2-19.
     153
26       1,4-dioxane is also a contaminant present in Roundup formulations. Ex. 103, see
     MONGLY01041300.
27   154
         US EPA, 2013 Toxicological Review of 1,4-Dioxane (with Inhalation Update), Washington
28   D.C. EPA/635/R-11/003F, available at
     https://cfpub.epa.gov/ncea/iris/iris_documents/documents/toxreviews/0326tr.pdf

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 61 of 79




 1   that 1,4-dioxane promoted the rodent liver tumors observed in the chronic animal bioassays.155
 2   The results of this pooled analysis were subjected to the rigors of peer-review and subsequently
 3   published.156 Thus, the pooled analysis approach conducted by Dr. Portier is, in fact, a peer-
 4   reviewed and accepted methodology.157 Dr. Portier’s approach is further backed by his 30-plus
 5   years of conducting such analyses in some of the most prestigious health related positions of
 6   government. Even were this approach to be considered innovative, it would be admissible.
 7   Kennedy v. Collagen Corp., 161 F.3d 1226, 1228 (9th Cir. 1998) (“well-grounded but innovative
 8   theories” admissible even if they have not been subjected to peer review).
 9          Dr. Portier’s statistical approach for analyzing p-values in rodent carcinogenicity data
10   enjoys general acceptance.158 Ex. 106. Monsanto claims the Wasserstein article calls for the
11   elimination of the use of p-values in interpreting data and incorrectly claims that the American
12   Statistical Association (“ASA”) rejected Dr. Portier’s pooling method. MSJ at 28 (citing to the
13   same article). Monsanto is wrong. The ASA statement merely proffers that p-values guide
14   decision making but should not be the only value that guides the decision, which is exactly the
15   manner in which Dr. Portier utilized p-values.
16          Dr. Portier’s analysis focuses on observed tumor incidences in same-species and same-
17
18
     155
         Ex. 104. Dourson, et al., Update: Mode of action (MOA) for liver tumors induced by oral
19   exposure to 1,4-dioxane. 88 REG. TOXICOLOGY AND PHARMACOLOGY 45-55 (2017).
     156
20       Ex. 105. Dourson, et al., Mode of Action Analysis for Liver Tumors from oral 1,4-dioxane
     exposures and evidence-based dose response assessment, 68 REG. TOXICOLOGY AND
21   PHARMACOLOGY 397-401 (2014). “’Submission to the scrutiny of the scientific community’ can
     be a strong indicator of reliability ‘because it increases the likelihood that substantive flaws in
22
     methodology will be detected.’” Murray, 870 F.3d at 923 (quoting Daubert, 509 U.S. at 593).
23   Monsanto makes the nonsensical argument that these articles cannot be considered because Dr.
     Portier did not include them on his reference list. As Dr. Portier explained, he found these
24   articles after Plaintiffs submitted his report. Dr. Portier’s application of pooled analyses was the
     result of his own expertise, but certainly not without precedent.
25   157
         It is noteworthy that, similar to Dr. Portier, Dr. Dourson’s pooled analysis considered studies
26   across time and from different labs; yet, unlike Dr. Portier, Dr. Dourson chose to pool different
     species and sexes in conducting his analysis. Dourson, et al., (2017), Figures 2-6; Dourson, et al.,
27   (2014), Figure 3.
     158
28       R. Wasserstein et al., Statement on p-values: Context, Process, and Purpose, 70 AMER.
     STATISTICIAN 129 (2016) (“Wasserstein article”).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 62 of 79




 1   sex from which he runs a trend test to arrive at a p-value, which is first compared against the
 2   concurrent controls. In instances of rare tumors, he considers historical control data, and again
 3   runs a trend test to arrive at a p-value for those tumors. Dr. Portier’s evaluation of the data thus
 4   uses p-values only as a guide to arrive at a statistical endpoint, followed by a sensitivity analysis
 5   to determine the appropriateness of comparison across studies, and, finally, pools results across
 6   studies deemed sufficiently similar to compare.159
 7          Dr. Portier’s opinion is further supported by his false-positive error rate analysis in Table
 8   15.160 See e.g. Daubert, 509 U.S. at 594 (appropriate to consider error rates). Monsanto
 9   misinterprets Table 15. MSJ at 28-29.161 Dr. Portier’s report explains that Table 15 and Modified
10   Table 15 illustrate the expected (assumption based on p-values) incidence of three or more
11   tumors appearing in a given site versus the observed (actual results in the data) incidence of three
12   or more tumors in a given animal. Portier Rep. at 50. The p-values in the text describe the
13   probability, for example, that all of the tumors in male mice arose by chance. Table 15 shows
14   that this is extremely unlikely; hence the data shows positive findings in the figures.162
15          In sum, Dr. Portier’s opinion is not the product of an “opinion first, data later” approach.
16   MSJ at 26. It is the product of a scientist carefully analyzing each of the endpoints of datasets to
17   arrive at a conclusion for each observed endpoint and to ultimately compare that data across
18
19   159
         See Portier Reb. Rep. at 5 (“In pooling across multiple studies, I examined the individual
20   experiments and only pooled data when it was clear the studies were close to identical.”). See
     also, Ex. 107. Greenland, S., et al., Statistical test, P values, confidence intervals, and power: a
21   guide to misinterpretations, 31 EUR J EPIDEMIOL 337-350 (2016) (specifically noting that
     significant and insignificant p values are not the final step in the scientific analysis of data).
22   160
         Portier Rep. at 50; Portier Rebuttal Rep. at 37 (Modified Table 15).
     161
23       At Dr. Portier’s deposition, Monsanto’s counsel likewise misinterpreted Table 15, and Dr.
     Portier corrected that misinterpretation. 296:11-318:18. Further, Monsanto’s brief suggests that
24   Dr. Portier used the data of another statistician and failed to verify the information in Table 15.
     See MSJ at 28-29. That is false. See Portier Dep. 299:17-301:5.
25   162
         Monsanto further argues that Dr. Portier’s inclusion of historical controls in Table 15 is
26   improper, (see MSJ at 29; Corcoran Rep. at 17-18), again, Monsanto misinterprets the table. Dr.
     Portier only uses historical controls in Table 15 in instances of rare tumors. The use of historical
27   controls in instances of rare tumors is entirely proper, and in fact, favored. See Ex. 108 - OECD
28   Guidance Document 116, Section 4.22; Keenan, et al., Best Practices for Use of Historical
     Control Data of Proliferative Rodent Lesions, TOXICOLOGIC PATHOLOGY 679 (2009).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 63 of 79




 1   studies. Dr. Portier’s approach is typical in meta-analysis seen in epidemiology studies and
 2   contributes further to a weight of the evidence analysis. His methodology is sound and accepted.
 3          Monsanto’s blanket assertion that review of animal data by global regulatory agencies
 4   should be conclusive is misplaced. MSJ at 22. In fact, in 2016, 93 independent scientists joined
 5   Dr. Portier in concluding that EFSA fails to follow established guidelines in evaluating rodent
 6   studies and supporting the IARC conclusions. Portier Dep. Ex. 15-19. As noted above, the OPP
 7   similarly disregarded its own guidelines.163 Like the OPP, EFSA a priori decided to “disagree
 8   with IARC” before it even read the IARC monograph.164
 9          As a practical matter, regulators receive data from the registrants; this data does not
10   consistently report tumor incidences. Only since the Greim (2015) publication have independent
11   scientists been able to look at each of the tumor incidences reported by the study authors in
12   appendices.165 EPA, EFSA, and EChA did not analyze the supplemental Greim data; their
13   decisions are based on the summary of tumors reported by the industry, not the study authors.
14   Dr. Portier, in contrast, reviewed the actual data.
15
               D. Dr. Jameson Applies the Correct Scientific Assessment to the Whole of the
16
               Evidence
17          Dr. Jameson has extensive experience evaluating carcinogens at the NTP, an agency
18   congressionally mandated to evaluate whether chemicals cause cancer in humans. Reference
19   Manual at 655-656. The weight of evidence methodology used by the NTP, IARC and Dr.
20   Jameson, an approach akin to preponderance of evidence, is a scientifically sound methodology
21
22
     164
23       EPAHQ_005644, May 22, 2015 email from Michael Goodis to Jess Rowland. Ex. 123.
     165
         Dr. Portier painstakingly reviewed every data point in the Greim appendix because sound
24   statistical analyses starts with all available data. Portier Rep. at 50 (Table 15); Portier Reb. Rep.
     at 37 (Modified Table 15). And when he did so he considered primary and secondary tumors in
25
     his analysis. Yet while fundamental to biostatistics, Monsanto’s expert statistician Dr. Corcoran
26   does not even know the difference between primary and secondary tumors, Corcoran Dep. at
     124, 150:12-156:19, presumably because all of his research has related to dementia and other
27   age-related disease and none has involved statistical analyses of animal bioassays, Corcoran
28   Rep., Curriculum Vitae at 5-16. Accordingly, Dr. Corcoran is not qualified to render an opinion
     in this case and must be excluded in total.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 64 of 79




 1   that passes Daubert scrutiny. Id. Dr. Jameson explains that “the hazard assessment I am making
 2   is to determine whether or not glyphosate and/or glyphosate-based formulations can cause
 3   NHL.” Id. at 9. In answering that question, Dr. Jameson uses a strength of evidence approach,
 4   rigorously assessing “the toxicological, mechanistic, and epidemiological data to form a
 5   judgment” regarding the carcinogenicity of glyphosate. Id. at 8. 166
 6          Dr. Jameson testified that “the purpose of the hazard assessment is to evaluate the
 7   material to see if it can cause cancer in animals.” Jameson Dep. 248:12-14. And, because “[i]n
 8   qualitative extrapolation, one can usually rely on the fact that a compound causing an effect in
 9   one mammalian species will cause it in another species,” Dr. Jameson’s opinions are directly
10   relevant to the question of biological plausibility. Accordingly, and in combination with the
11   epidemiological data, the methodology used by Dr. Jameson is designed to answer the exact
12   question at the heart of this phase of the litigation: Can glyphosate cause NHL in humans?
13          Dr. Jameson’s pre-litigation methodology—the methodology he employed during his
14   work in the IARC working group and years at the NTP—is virtually identical to the
15   methodology he employs in reaching his expert opinions here. Monsanto even acknowledges as
16   much by accusing Dr. Jameson of “bootstrapping IARC’s methodology.” MSJ at 3.
17   Nevertheless, Monsanto asserts that Dr. Jameson abandoned his pre-litigation methodology on
18   the basis of a nearly 30-year-old publication167, which lists Dr. Jameson as a contributing
19   author.168 Cf. MSJ at 30. However, Dr. Jameson’s opinions are consistent with this methodology.
20   For example, he explains that replication can occur between tumor type and site as well as across
21
     166
         Monsanto’s criticism of Dr. Jameson for not doing a risk assessment is misplaced. As Dr.
22
     Jameson described, hazard assessment, while often used interchangeably with risk assessment, is
23   different in that “[r]isk is defined as the probability that exposure to a hazard will lead to a
     negative consequence, or more simply, risk = hazard x dose (exposure).” In the absence of a
24   known exposure level, risk cannot be meaningfully determined. Moreover, as set forth supra and
     explained by Dr. Jameson, the question of cancer causation in animals is always answered by
25
     using high doses, including the MTD. Jameson Dep. 216:8-217:2.
     167
26       Notably, Monsanto did not offer the article of issue as an exhibit at Dr. Jameson’s deposition.
     In fact, despite repeated requests to see the document, Monsanto refused to provide Dr. Jameson
27   an opportunity to review the publication it now cites as evidence of a change in his methodology.
28   Jameson Dep. 33:8-34:20.


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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 65 of 79




 1   species strain and sex. Jameson Dep. 64:7-25. Here, Dr. Jameson observed tumors across studies,
 2   see infra, thereby establishing his stated criteria for replication. Jameson Rep. at 29. (“This
 3   statement is based on my stated criteria of a causal relationship between exposure to glyphosate
 4   and an increased incidence of malignant and/or a combination of malignant and benign tumors,
 5   in multiple species, at multiple tissue sites, from multiple studies, and to an unusual degree with
 6   regard to incidence, site, or type of tumor.”). Not only is his methodology consistent, so is his
 7   opinion: glyphosate causes cancer in animals and humans.
 8   VIII. Opinions Based on Mechanistic Data Are Reliable and Satisfy the Fit Requirement
 9          The mechanistic evidence, and opinions predicated thereon, satisfy Daubert’s fit
10   requirement. Mechanistic data provide evidence of how a chemical causes cellular changes that
11   progress to cancer. The mechanistic evidence here is especially strong because it includes
12   evidence of genotoxicity in human lymphocytes and blood samples following real-world GBF
13   exposure. Moreover, mechanistic data are probative and relevant in considering biological
14   plausibility and coherence as important parts of the Bradford-Hill criteria, particularly where the
15   epidemiology corroborates the carcinogenic effects of GBFs in exposed humans. As explained
16   by Monsanto’s expert, evidence of genotoxicity “should be viewed within a context that can
17   include rodent cancer bioassay and epidemiology data.” Goodman Rep. at 9.
18          The results of peer reviewed in vivo studies (Paz-y-Mino 2007 and Bolognesi 2009)169
19   demonstrate genotoxicity in blood and lymphocyte cells in living humans following exposure.
20   In light of the human mechanistic data, opinions extrapolating the results of other genotoxicity
21   experiments to humans are substantiated. Bolognesi 2009 and Paz-y-Mino 2007170 are
22
     169
23       Ex. 109. Paz-y-Miño et al., Evaluation of DNA damage in an Ecuadorian population exposed
     to glyphosate, 30 GENETICS AND MOLECULAR BIOLOLOGY, 2, 456–60 (2007); Ex. 110.
24   Bolognesi, Biomonitoring of Genotoxic Risk in Agricultural Workers from Five Colombian
     Regions: Association to Occupational Exposure to Glyphosate, 72 J TOXICOL ENVIRON HEALTH
25
     A, 15-16, 986–97 (2009).
     170
26       A follow-up study, conducted two years after the aerial spraying of GBFs was banned,
     showed the health of the population improved and that the GBF-induced DNA damage healed.
27   The authors re-affirmed their 2007 findings stating that “the results suggest that the individuals
28   exposed to the broad spectrum herbicide suffered a genotoxic effect.” Ex. 111 - Paz-y-Mino et
     al., Baseline determination in social, health, and genetic areas in communities affected by

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 66 of 79




 1   methodologically sound studies that examined the genotoxic effect of aerially sprayed GBFs on
 2   the blood and lymphocyte cells of humans living in the sprayed areas. Monsanto’s expert, Dr.
 3   Goodman, conceded that most of his criticisms regarding the Paz-y-Mino study, at least, are
 4   speculative. See infra at 63; Goodman Dep. 223:15-228:24.
 5           Dr. Portier included both studies in his overall evaluation of the genotoxicity data and
 6   attached strong weight to them. Portier Rev. Rep. at 55-56. Dr. Matthew Ross, named as a non-
 7   retained expert by both parties, confirmed the importance of the Bolognesi study, stating
 8   “looking at exposed populations to an agent and seeing evidence of DNA damage is strong
 9   evidence that it is occurring, that it can occur.” Ex. 112 – Deposition Transcript and Exhibits of
10   Dr. Matthew Ross, 202:15-18.
11           Responding to Monsanto’s question “What strong evidence was presented in the IARC
12   monograph working group 112 that carcinogenesis observed in experimental animals is mediated
13   by a mechanism that also operates in humans?” Dr. Ross explained:
            The mechanistic evidence that was deemed strong was the genotoxicity and the oxidative
14
            stress classification. . . .
15
             . . . the data, were obtained in exposed humans in cultured cells – in vitro human cells --
16           cultured in vitro, exposed to glyphosate. And in some animal models, in vivo there was
             evidence of . . . genotoxicity. The important thing, in terms of operable in humans, is the
17
             fact that exposed humans showed evidence of genotoxicity, and cultured cells of human
18           origin showed evidence of genotoxicity. Those were -- those then showed that this
             mechanism may operate in humans.
19
     Ross Dep., 104:7-105:10.
20
             Monsanto relies on statements by one of the Bolognesi co-authors, Dr. Keith Solomon.
21
     Monsanto does not mention that Dr. Solomon is a paid consultant. See Exs. 113, 114. 171
22
     Monsanto omits the fact that the primary author, Dr. Claudia Bolognesi, has twice affirmed the
23
     opinion of Plaintiffs’ experts that the results show a statistically significant increase in
24
25
26   glyphosate aerial spraying on the northeastern Ecuadorian border, 26 REV ENVTL. HEALTH 45
     (2011).
27   171
         Ex. 13: Apr. 9, 2001 email from Donna Farmer (MONGLY00885224); Ex. 14: June 5, 2013
28   emails between Joy Honegger, Erin Ahlers, and others (MONGLY04234807) (demonstrating
     Keith Solomon is a paid consultant for Monsanto).

                                                       59
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 67 of 79




 1   micronuclei frequency.172 Moreover, the disagreement between Dr. Solomon and Dr. Bolognesi
 2   is evidence of valid scientific debate, go to the weight, not the admissibility, of the evidence. See
 3   Milward, 639 F.3d at 22 (district court erred in choosing sides on an issue “which reasonable
 4   scientists can clearly disagree”).173
 5          Dr. Portier’s opinions based on the mechanistic data are reliable. Dr. Portier engaged in a
 6   systematic analysis of each of the available mechanistic studies, which he prioritized based on
 7   biological impact and biological source data. Portier Rev. Rep. at 52-74.174 Consistent with
 8   Monsanto’s expert’s approach, Dr. Portier’s methodology placed more importance on the
 9   observation of genotoxicity in humans than genotoxicity in other mammals. Id. at 54; Portier
10   Dep. 357:16-21. Still, Dr. Portier carefully evaluated the available mechanistic evidence on
11   glyphosate, assessed the quality and observed results for the studies individually, and
12   appropriately factored in weaknesses and strengths of the studies in arriving at a conclusion
13   based upon the weight of the evidence. See, e.g, Portier Rev. Rep. at 52-74. Accordingly, Dr.
14   Portier did not simply “add up” the positive studies.
15          Monsanto asks the Court to exclude Dr. Portier’s demonstrative Table 17 because he
16   merely counted studies as positive or negative but did no analysis. MSJ at 35. In fact, Dr. Portier
17
18
     172
         See Ex. 115. C. Bolognesi, et al. Micronuclei and Pesticide Exposure 26 Mutagenesis 1, 19-
19   26 (2011): “Results showed significant increases in MN frequency after glyphosate exposure…”.
20   See also, C. Bolognesi, et al. The use of the lymphocyte cytokinesis-block Micronucleus assay for
     monitoring pesticide-exposed populations 770 Mutation Research 183-203 (2016): “[A]
21   significant increase in the MN frequency associated with [glyphosate] exposure was detected…”
     and “[A]n indication of a genotoxic risk can be plausibly derived for…singly compounds such as
22
     glyphosate…due to consistent positive findings in exposed subjects.”
     173
23       IARC likewise rejected Dr. Solomon’s arguments stating it “found the comparisons of the
     frequencies of micronucleated cells before and after spraying to be particularly informative,
24   while your [Solomon’s] interpretation emphasized other results” and “that the foregoing
     differences are ones of interpretation, rather than of fact.” Ex. 117, June 17, 2015 email from
25
     Kurt Straif to Keith Solomon re: Genotoxicity of glyphosate in humans.
     174
26       Dr. Portier considered “(1) data from exposed humans, (2) data from exposed human cells in
     a laboratory setting, (3) data from exposed mammals (non-human), (4) data from exposed cells
27   of mammals (nonhuman) in the laboratory, (5) data from non-mammalian animals and others,
28   and (5) [sic] data from cells from non-mammalian animals and others.” Portier Rev. Rep. at 53-
     54.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 68 of 79




 1   included Table 17 to summarize data; he explains “Table 16 [sic]summarizes these studies in a
 2   simple framework that allows all of the experimental data to be seen in one glance. This table
 3   does not address the subtlety needed to interpret any one study, but simply demonstrates when a
 4   study produced positive versus negative results.” Portier Rev. Rep. at 65 (emphasis added).
 5          Adding further confidence to the fact that a carcinogenic mechanism operates in humans
 6   is the fact that glyphosate causes lymphoma in mice. Peer-reviewed, scientific literature
 7   consistently accepts that B-cell lymphomas found in mice exhibit similar pathological features to
 8   those in humans, such that they “exhibit enough parallels to suggest they represent the same
 9   disease but in a different species.”175 The publications support the coherence criteria of Bradford-
10   Hill because of “the increased risk of malignant lymphomas in CD-1 mice, the marginal increase
11   in these tumors in Swiss mice and the strong similarity between malignant lymphomas in mice
12   and NHL in humans.”176 Portier Rep. at 76, 97.
13   IX.   SUMMARY JUDGMENT IS INAPPROPRIATE AND MUST BE DENIED
14          Monsanto moves for summary judgment solely on the basis of its motion to exclude
15   Plaintiffs’ general causation experts. On a motion for summary judgment, the Court must
16   consider all facts in the light most favorable to the non-movant. See Messick v. Novartis Pharm.
17   Corp., 747 F.3d 1193, 1199 (9th Cir. 2014) (reversing summary judgment because plaintiff’s
18   admissible expert testimony created issues of fact). As set forth above, Plaintiffs have submitted
19   relevant and reliable general causation expert testimony, which raises genuine issues of material
20   fact as to whether glyphosate and GBFs can cause NHL. See id; see also Fed. R. Civ. P. 56(a).
21   Accordingly, Monsanto is not entitled to summary judgment and the Court should deny the
22   instant motion in its entirety.
     X. Monsanto’s Experts Do Not Apply Reliable Methodologies in Reaching Their
23
24
     175
         Ex. 100. Begley, D., et al., Finding mouse models of Human Lymphomas and Leukemia’s
25
     using the Jackson Laboratory Mouse Tumor Biology Database, 99 EXPERIMENTAL AND
26   TOXICOLOGIC PATHOLOGY 533-536, p. 534 (2015); , Ward, J. Lymphomas and Leukemias in
     Mice, 57 EXPERIMENTAL AND TOXICOLOGIC PATHOLOGY 377-381 (2006).
27   176
         Dr. Portier further found that there was an increase in splenic lymphosarcomas in female mice
28   in Knezevich and Hogan which is also highly relevant to human causation because
     lymphosarcomas are a type of lymphoma. Portier Reb. Rep. at 7.

                                                      61
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 69 of 79




           Opinions.
 1
 2          A.      The opinions of Dr. Rosol must be excluded because they are based upon
                    documents withheld from Plaintiffs.
 3
 4          Dr. Rosol’s opinions are predicated upon information he reviewed in the “glyphosate

 5   reading room” in Brussels, Belgium.177 The glyphosate reading room was open from August

 6   2016 until October 2016. In-fact, the room closed just days after Dr. Rosol conducted his review.

 7   It is now closed to the public and Plaintiffs have no access to the underlying pathology reports

 8   Dr. Rosol reviewed. Dr. Rosol acknowledged the “underlying study reports” used in the

 9   preparation of his report are available only in the reading room. Rosol Dep. at194:16-25.178 And,

10   as a veterinary pathologist, the underlying pathology reports were essential to Dr. Rosol’s

11   opinions. Id. at 51:10-14 (“[the incidence data] would be very helpful. It’s very useful data. For

12   many people it might be adequate. For me, I really wanted to read the pathology reports.”). In

13   PTO 16, this Court made clear that “neither the plaintiffs nor Monsanto will be permitted to rely

14   in these proceedings on documents they have withheld from the other side.” Accordingly, and

15   because all of Dr. Rosol’s opinions are predicated upon information to which Monsanto had

16   access but that were withheld from Plaintiffs, he must be excluded in total.

17
            B.      Dr. Goodman’s Opinions Discounting Two Human In Vivo Studies Are
18                  Inadmissible
19
            Dr. Goodman offers several opinions for discounting two human in vivo studies,
20
     Bolognesi 2009 and Paz-y-Mino 2007. These opinions, whether individually or collectively are
21
     an assortment of speculation, guesswork, and willful blindness. When questioned about one of
22
     his reasons for disregarding the Paz-y-Mino study, he testified “Absolutely, yes it’s speculative.”
23
24
     177
         The glyphosate reading room was operated by the Glyphosate Task Force (“GTF”). The GTF
25
     is a consortium of companies, including Monsanto, joining resources and efforts in order to
26   renew the European glyphosate registration. See http://www.glyphosate.eu/gtf-
     statements/glyphosate-task-force-opens-reading-room-public-access-studies.
27   178
         Plaintiffs requested this discovery from Monsanto on December 12, 2016. See Ex.118.
28   Monsanto asserted that it did not have copies of the Pathology reports, even though by that point
     Monsanto knew that Dr. Rosol had reviewed and likely relied upon the reports. See Ex. 119.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 70 of 79




 1   Goodman Dep. 225:3-6 (emphasis added); see also id. at 228:6. And, where Dr. Goodman is not
 2   speculating, he is wrong or, at best, willfully ignorant of critical information. “[S]peculative
 3   testimony is inherently unreliable.” Dept. of Toxic Substances Control v. Technichem, Inc., 12-
 4   CV-05845-VC, 2016 WL 1029463, at *1 (N.D. Cal. Mar. 15, 2016) (Chhabria, V. quoting Ollier
 5   v. Sweetwater Union High Sch. Dist., 768 F.3d 843, 860 (9th Cir. 2014)).
 6          Dr. Goodman discounts the Paz-y-Mino results due to what he perceives as a lack of
 7   investigation into the “wide-range of reactions” within the exposed population. Goodman Rep. at
 8   12. The “wide-ranging of reactions” he references are actually a list of the consistently reported
 9   symptoms of acute GBF toxicity.179 When asked whether he believed the symptoms reported by
10   the study to be consistent with GBF exposure—the key inquiry in ruling out GBF exposure as
11   the cause—Dr. Goodman admitted that he is neither qualified to opine on nor is even aware of
12   GBF toxicity symptomology at all: “I am a Ph.D., not a medical doctor, and I do not know all of
13   the symptoms of glyphosate poisoning and I do not know the particular concentrations,
14   exposures necessary to cause this particular plethora of – ailments.” Goodman Dep. 220:7-12.180
15   If Dr. Goodman is unqualified to rule in GBF exposure as the cause of the symptomology, it is
16   axiomatic that he is likewise unqualified to rule out GBF exposure as the cause—especially in
17   the face of reliable evidence. Accordingly, Dr. Goodman is not qualified to offer the speculative
18   belief that something other than GBF exposure may have caused the reported symptoms. And,
19   without any evidence supportive of his hypothesis, his opinion must be excluded.181
20          Dr. Goodman readily admits that his second criticism of Paz-y-Mino 2007—that during
21
     179
         In-fact, two studies Dr. Goodman has found “methodologically sound,” detail the most
22
     common symptoms of GBF toxicity and corroborate every symptom listed in the Paz-y-Mino
23   study. See Zouaui, K. et al., Determination of glyphosate and AMPA in blood and urine from
     humans: About 13 cases of acute intoxication, 226 Forensic Science International e20 (2013),
24   and Roberts, Darren M et al. “A Prospective Observational Study of the Clinical Toxicology of
     Glyphosate-Containing Herbicides in Adults with Acute Self-Poisoning.” Clinical toxicology
25
     (Philadelphia, Pa.) 48.2 (2010): 129–136. PMC. Web. 15 Oct. 2017 at 5, describing the
26   symptoms of acute glyphosate toxicity. Cf. Goodman Rep. at 34-35; Id. at 40-42.
     180
         Dr. Goodman repeatedly referred to his perspective as that of a “layman,” Goodman Dep.
27   215:16-218:2, an admission that Dr. Goodman is not qualified to offer the opinion.
     181
28       Moreover, Goodman could not provide any alternative hypothesis for what could have caused
     the reported symptoms, if not GBF exposure. Goodman Dep. 217:5-13.

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 71 of 79




 1   the time between blood sampling, the exposed population “might have been exposed to
 2   numerous chemicals, other than GBFs, which could have influenced the results,” —is
 3   speculation.182 Goodman Rep. at 12. In fact, when questioned directly about his hypothesis, Dr.
 4   Goodman testified: “Yes, it is speculative.” Id. at 228:6. This lack of intellectual rigor fails the
 5   Daubert reliability prong. See 509 U.S. at 590.
 6          Dr. Goodman’s criticisms of the study’s methodology are similarly unfounded.183 For
 7   example, he assumes that more than one individual “might have participated” in performing the
 8   analysis; however, when questioned, Dr. Goodman admitted his assertion was speculative.
 9   Goodman Dep. 225:16 (“Is this speculative, the answer is yes”).184 And, Dr. Goodman’s final
10   methodological critique—that the authors’ lack of discussion of heterogeneity renders their
11   findings unreliable—is absurd. His criticism relates exclusively to discussion of the study results,
12   not the validity or reliability of the results themselves—findings he admitted are indicative of
13   genotoxic effects. Id. at 228:20-21.
14          Dr. Goodman’s opinion discounting the Bolognesi 2009 study is premised on two key
15   errors. In his report and testimony, Dr. Goodman discounted the higher rates of binucleated cells
16   with micronuclei (BNMN), an admitted marker of genotoxicity,185 in exposed populations on the
17   basis that “the highest reported frequency of BNMN” occurred in one of the control regions
18   (Boyaca) “where no aerial spraying of glyphosate was conducted.” Goodman Rep. at 15;
19   Goodman Dep. 202:18-203:1; 204:1-11. However, Boyaca reported the highest baseline
20
21   182
         The study authors took efforts to ensure that the test population was not exposed to other
     confounding chemicals, a finding Dr. Goodman admitted he has no reason to dispute. Paz-y-
22
     Mino 2007 at 485; Goodman Dep. 216:10-217:4.
     183
23       Dr. Goodman’s criticism of the authors’ use of a “Rank Numbers” is similarly speculative.
     When pressed as to whether this issue lead him to question the results of the study, Dr. Goodman
24   could only opine that authors’ use of rank numbers lead him “to wonder about the analysis”
     before deflecting to his criticism regarding multiple reviewers. Goodman Dep. 223:10-12
25   184
         Moreover, Dr. Goodman admitted that even if his speculation were correct, his belief would
26   not render the Paz-y-Mino study unreliable. Id. 226:24-227:3 (“multiple reviewers or multiple
     observers, however we want to categorize this, in and of itself, in my opinion, would not be
27   problematic...”). Thus, Dr. Goodman’s criticism, even if based in evidence and established as
28   fact, does not support the opinion he offers.
     185
         Goodman Dep. 202:6-17

                                                       64
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 72 of 79




 1   frequency of BNMN before any other regions were exposed to GBFs. However, following
 2   spraying with GBFs, the observed rates of BNMN in the GBF-exposed regions were higher.186
 3   Second, Dr. Goodman incorrectly believed that the Boyaca population had no glyphosate
 4   exposure. Id. 204:12-21. In-fact, the population of this area was exposed to a number of
 5   pesticides and chemicals including glyphosate, only not aerially.187 Therefore, and at a minimum,
 6   Dr. Goodman’s opinions related to the Bolognesi and Paz-y-Mino studies must be excluded.
 7          C.      Dr. Goodman’s Opinions Are Based Upon A Result Driven Methodology
 8          Dr. Goodman’s review of the data is not a rigorous one. Dr. Goodman accepts all
 9   negative findings at face value—even when these findings are the product of methods he deems
10   unreliable in positive studies and despite purporting to apply the same criteria to all studies
11   reviewed. Id. at 230:12-22. 188 On the other hand, he discounts the results of nearly every positive
12   study demonstrating that glyphosate or GBFs cause genotoxicity or oxidative stress. Such a
13   biased approach to data is inconsistent with Daubert and its progeny.189 See In re Zoloft
14   (Sertraline Hydrochloride) Products Liab. Litig., 858 F.3d 787, 797 (3d Cir. 2017)
15          Dr. Goodman discounts evidence of genotoxicity in a comet assay on the basis that it did
16   not account for cytotoxicity and/or demonstrate dose response, even though the study evaluated
17   for cytotoxicity190 and demonstrated dose response. See Ex. 120 - Alvarez-Mayo, 2014 p. 106,
18   107-108, Figs. 1, 2, 3. Goodman Rep. 30-31; Cf. Goodman Dep 72:18-22, 86:4-16.191 And,
19
     186
20       Bolognesi at 991. Dr. Goodman acknowledged this fact—which contradicts his reported
     opinion—upon being presented with the results of the study. Goodman Dep. 206:14-20.
21   187
         Bolognesi at 994. Dr. Goodman conceded that he had no reason to disagree with the authors’
     statement that the population of Boyaca was exposed to glyphosate. Id. 207:11-19.
22   188
         Dr. Goodman was unable to point to a single negative study within any data set that he did
23   not find credible. Conversely, Dr. Goodman discounted nearly every positive study.
     189
         Such a facially absurd result is indicative of a conclusion-oriented process. See Magistrini v.
24   One Hour Martinizing Dry Cleaning, 180 F. Supp. 2d 584, 607 (D.N.J. 2002), aff'd, 68 Fed.
     Appx. 356 (3d Cir. 2003)(unpublished) (To establish that an expert’s methodology “is truly a
25
     methodology, rather than a mere conclusion-oriented selection process that weighs more heavily
26   those studies that supported an outcome, there must be a scientific method of weighting that is
     used and explained.”) (emphasis added).
27   190
         Dr. Goodman testified that the Trypan Blue method used to evaluate cytotoxicity is adequate.
28   Goodman Dep.150:19-151:2
     191
         Several other opinions contain similar, fundamental errors related to cytotoxicity testing.

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               Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 73 of 79




 1   although failure to account for cytotoxicity is fatal for positive studies, it is irrelevant for
 2   negative ones under Dr. Goodman’s methodology.192 In-fact, many of the negative studies Dr.
 3   Goodman relies upon contain methodological flaws identical to, or worse than, the positive
 4   studies he disregards.193 This degree of misapplication requires exclusion. See Fed. R. Evid.
 5   702(d).
 6             In yet another example of clear error, Dr. Goodman reports to have relied upon 38 Ames
 7   tests “conducted with GBFs” in support of his opinions. Goodman Rep. at 18-19. However, at
 8   least five of these tests do not involve glyphosate at all. 194 This mistake underscores the lack of
 9   reliability and rigor in Dr. Goodman’s methodology. Dr. Goodman is either unable to discern the
10   chemical tested, or is so careless that he did not realize 13% of the data set had nothing to do
11
12   Goodman discounts the results of Mañas et al., 2009 for not performing cytotoxicity tests,
     however, this study did account for cytotoxicity using the Trypan Blue method. Goodman Rep.
13   at 30; Manas, F. et al., Genotoxicity of glyphosate assessed by the comet assay and cytogenetic
14   tests, 28 Envtl. Toxicology & Pharmacology 37 (2009). In another example Goodman opines
     that the elevated frequency of micronuclei following exposure to glyphosate in the Koller et al
15   2012 in vitro microneuclei induction test in mammalian cells should be discounted because the
     micronuclei induction observed was secondary to cytotoxicity. Id. at 27; Goodman Dep. 84:9-17.
16   However, Koller did evaluate for cytotoxicity and demonstrated that cytotoxicity was not
17   observed with glyphosate. Thus, Goodman discounts the positive genotoxic findings for
     glyphosate in that study even though cytotoxicity was ruled out. See Koller, V. et al., Cytotoxic
18   and DNA-damaging properties of glyphosate and Roundup in human-derived buccal epithelial
     cells, 86 Archives Toxicology 805 (2012).
19   192
         In Dimitrov et al, a study Goodman explicitly relies upon as “negative,” cytotoxicity was not
20   determined. Goodman testified that could not recall whether cytotoxicity tests were performed.
     Id. 115: 6-9. Dimitrov, B. et al., Comparative genotoxicity of the herbicides Roundup, Stomp
21   and Reglone in plant and mammalian test systems, 21 Mutagenesis 373 (2006).
     193
         For instance, Dr. Goodman accepts at face value the results of Holeckova (2006), showing no
22
     chromosomal aberration with glyphosate in vitro. However, this study did not use a metabolic
23   activation system, rendering the results unreliable and in non-compliance with OECD guidelines.
     Dr. Gooman’s consistently discounts positive findings for the noncompliance with OECD
24   guidelines. However, notwithstanding these glaring shortcomings, Dr. Goodman saw no reason
     for scrutiny or concern. See Holeckova, B., Evaluation of the In Vitro Effect of Glyphosate-based
25
     Herbicide on Bovine Lymphocytes Using Chromosome Painting, 50 Bull. Veterinary
26   Inst. Pulawy 533 (2006).
     194
         Monsanto’s counsel identified the 19 additional tests not accounted for in Appendix 1 of Dr.
27   Goodman’s report. See Ex.121 (email from H. Pigman to D. Wool). Notable, references 132,
28   213, 271, 353, were conducted with neither GBFs nor glyphosate, a fact acknowledged by
     Monsanto’s counsel.

                                                        66
             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 74 of 79




 1   with glyphosate or GBFs at all. Either way, his methodology does not pass Daubert muster and
 2   his resultant opinions must be excluded.
             D.      Dr. Foster Applies Inconsistent and Erroneous Methodologies and Must be
 3
                     Excluded in Total
 4
 5          Dr. Foster’s opinions are not based on scientifically solid methodology, and his report

 6   and testimony are replete with less than rigorous analyses geared towards a pre-determined

 7   conclusion. In part, Dr. Foster’s methodology is to compare tumor incidences across studies in

 8   an effort to identify repeatability or replication of the tumors. Ex. 122 – Deposition Transcript

 9   and Exhibits of Dr. Warren Foster, 86:10-17, 176:9-12, 209:3; Foster Rep. at 23, 26. Scrutiny of

10   his method reveals a glaring absence of scientific rigor. For instance, he concludes that the

11   interstitial testicular tumors observed in the Lankas (1981) study were not glyphosate related

12   because there was no replication of the testicular tumors in other studies in rats at the same or

13   higher doses. Foster Rep. at 15.195 He explained that he arrived at this opinion in part by

14   comparing the Lankas study with the Atkinson and Suresh studies, based on similar dose

15   regiments. Foster Dep., 203:25-205:18. Dr. Foster stated that the only comparable dose groups

16   were the high dose male group in the Lankas study and the low dose male groups in the Atkinson

17   and Suresh studies.196

18          However, at the time of Atkinson and Suresh, chronic toxicity and carcinogenicity study

19   guidelines did not require full histopathological examinations of the testes in low- or mid-dose

20   group animals unless there was an observed dose response seen between the control group and

21   the high dose group animals.197 Atkinson reported three testicular tumors in the control group

22
23   195
         When questioned, Dr. Foster responded that rats receiving similar doses showed no incidence
     of testicular tumors. Foster Dep. at 205:6-9 (referring to Atkinson, 1993); 207:19-208:1
24   (referring to Suresh 1996).
     196
         Foster Dep. 203:14-205:18.
25   197
         Instead, pursuant to the standards of the time, the study authors would only conduct full
26   histopathology on those animals from the low and mid dose groups that either died prior to study
     termination or that showed macroscopic tumors. This approach would potentially miss tumor
27   production in the low- and mid-dose animals; accordingly, the 2006 revisions altered the
28   guidelines to require full histopathology of the animals in the study, which is the present
     standard. See, NTP, Standard Protocols, 2-Year Study, Histopathology List,

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 75 of 79




 1   and two testicular tumors in the high dose group. Greim (2015)(Study 3). Suresh did not observe
 2   any testicular tumors in the control or high dose males. Greim (2015)(Study 4). Therefore, full
 3   animal examination of the entirety of the low dose groups in Atkinson and Suresh were not
 4   performed because neither study noted a clear dose response between the control animals and the
 5   high dose animals. Id. Because in Atkinson only 25 of the 50 low dose males were evaluated,198
 6   and in Suresh only 30 of the 50 low dose males were evaluated,199 (those animals that died
 7   before the study ended or exhibited macroscopic tumors), neither conducted full animal
 8   histopathology analysis on the entirety of the low dose animals. As a result, it is factually
 9   implausible and thus methodologically unsound to make a comparison between these two studies
10   and Lankas.200 Data obtained from the examination of only a portion of the treated animals
11   cannot be reliably used as a basis of the comparison Dr. Foster purports to have performed.
12          Dr. Foster’s inadequate scientific rigor is further reflected in the cavalier way he
13   dismisses any potential relationship between glyphosate and the tumors observed in animals
14   treated with it. Dr. Foster dismisses certain observed tumor incidences due to lack of
15   histopathological evidence of progression from adenoma to carcinoma and/or hyperplasia in
16   some studies, and concludes that the detected tumors are not compound-related.201 These
17   conclusions are scientifically unsupported and premised on a clear misunderstanding of
18   carcinogenic processes.
19          For example, Dr. Foster assumes that all carcinomas develop from adenomas. See e.g.,
20   Foster Rep. at 14, 18, 19, 23. He further states that a lack of observed hyperplasia is evidence
21   that the observed tumors were not compound-related. Foster Dep. at 200:23-201:2. Both those
22
23   https://ntp.niehs.nih.gov (last accessed Oct. 26, 2017).
     198
         Greim (2015)(Study 3)(Data Supplement). Still, Atkinson reported one interstitial testicular
24   cell tumor in the low dose group males. Id.
     199
         Greim (2015) (Study 4)(Data Supplement).
25   200
         Dr. Foster believes Suresh is a “thorough study,” that conducted full histopathology on all
26   animals. Foster Dep. 207:19-298:1. Dr. Foster is mistaken. Further, three testicular tumors (two
     Leydig cell tumors, and one Seminoma) were observed in the 30 mid-dose animals fully
27   examined in Suresh. (Greim Data Supplement, Study 4, Table 48 at 4).
     201
28       See Foster Rep. at 15, 16, 17, 20, 22, 24 (dismissing numerous different tumors for lack of
     evidence of tumor progression).

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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 76 of 79




 1   assertions are wrong. In fact, carcinogens have the capability to produce carcinomas without
 2   adenomas and some tumors have no precursor lesions.202 Further, in the absence of a concurrent
 3   toxicology study, as was the case here, histological examination is performed after the animals
 4   have been euthanized. Thus, hyperplasia and/or tumor progression is not often noted (if ever)
 5   because the animals are only reviewed for the presence of adenomas/carcinomas once—at death.
 6   Dr. Foster offers no support for his conclusion to the contrary other than his alleged experience.
 7   Therefore, Dr. Foster asks this Court to admit his opinions based solely on an ipse dixit basis. “If
 8   admissibility could be established merely by the ipse dixit of an admittedly qualified expert, the
 9   reliability prong would be, for all practical purposes, subsumed by the qualification prong.”
10   United States v. Frazier, 387 F.3d 1244, 1261 (11th Cir. 2004). Dr. Foster’s methodology fails
11   the reliability prong.
12           Dr. Foster dismisses certain tumors based solely on speculation. For example, Dr. Foster
13   discounts the kidney tumors observed by Knezevich and Hogan based on a speculative
14   confounder—the weight loss observed in the high dose group. Foster Rep. at 21-22. Dr. Foster
15   dismissed the renal tubule adenomas in that study because he believed the uncited 11 percent
16   weight loss confounded the data. Foster Dep. at 69:4-11. However, he does not provide any
17   information about the source of this purportedly important information. Foster Dep. at 65:21-
18   66:1 (“No, I cannot tell you exactly where I found that….”). In addition, he offers no support for
19   the claim that the weight loss somehow contributed to the observed tumors. In this instance, Dr.
20   Foster failed to apply any methodology—he dismisses rare tumors based on the notion that he
21   came across the data “somewhere,” he therefore discounts the kidney tumors seen at the higher
22   dose, and accordingly concludes that the study did not show a dose-response relationship.
23           Dr. Foster has years of expertise in reproductive toxicology, but no expertise in animal
24   carcinogenicity screening assays. Likely, Dr. Foster’s flawed methodologies are the result of this
25   inexperience. His report and deposition testimony do not satisfy the requisite level of intellectual
26
27   202
        D. Dixon, et al., Summary of chemically induced pulmonary lesions in the National
28   Toxicology Program (NTP) toxicology and carcinogenesis studies, 36 TOXICOL PATHOL 3 at
     428-39 (2008).

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            Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 77 of 79




 1   rigor that Daubert requires from an expert and precludes its admission.
             E.     Drs. Rider and Mucci’s Opinions Predicated Upon the Unpublished AHS
 2
                    Study Must be Excluded
 3          Neither Dr. Mucci nor Dr. Rider engaged in a serious review of the epidemiology in this
 4   case. Their uncritical acceptance of the unpublished unfinished AHS manuscript—despite the
 5   author’s warnings that the analysis was “incomplete” and that it would be “irresponsible” to
 6   report the results—reflects litigation-driven opinions. See Supra, AHS Section. Blair Dep. at
 7   204:15-20, 206:25-207:4. Further, despite commissioning two articles heavily critiquing the
 8   methodology of the AHS study, Monsanto failed to provide those articles for consideration by
 9   these experts. As explained above, both the incomplete and methodologically flawed draft AHS
10   study manuscript and any opinions based on it should be excluded, including Chang (2017).
11          CONCLUSION ON OFFENSIVE DAUBERTS
12          As explicated above, because Monsanto’s experts Drs. Rosol, Goodman, Foster, Rider,
13   and Mucci apply methodologies that do not satisfy the Daubert standard, the Court should
14   exclude their opinions.
15
16
     Dated: October 27, 2017                             Respectfully Submitted,
17
18                                                       /s Robin Greenwald, Michael Miller and
19                                                       Aimee Wagstaff

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     Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 78 of 79




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             Case 3:16-md-02741-VC Document 647 Filed 10/27/17 Page 79 of 79




 1                                         ECF CERTIFICATION
 2   Pursuant to Civil Local Rule 5-1(i)(3), the filing attorney attests that she has obtained
 3   concurrence regarding the filing of this document from the signatories to the document.
 4
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                                       CERTIFICATE OF SERVICE
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17           I hereby certify that a true and correct copy of the foregoing document was filed with the

18   Court and electronically served through the CM-ECF system which will send a notification of

19   such filing to all counsel of record. .

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21        DATED: October 27, 2017                       /s/ Aimee Wagstaff
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